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             11       jdulberg@pszjlaw.com, and
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             12
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             13
                      Attorneys for the Chapter 11
             14       Debtors and Debtors in Possession
             15
                                         UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF WASHINGTON
             16   In re                                          Chapter 11
             17   EASTERDAY RANCHES, INC., et al.                Lead Case No. 21-00141-WLH11
             18                      Debtors. 1                  Jointly Administered

             19
                  EASTERDAY RANCHES, INC. and
                  EASTERDAY FARMS,                               Adv. Proc. No. __________
             20                                  Plaintiffs,     COMPLAINT FOR INJUNCTIVE
             21
                           vs.                                   RELIEF

             22
                  RABO AGRIFINANCE LLC, a
                  Delaware limited liability corporation,
             23                                  Defendant.
             24

             25   1
                   The Debtors along with their case numbers are as follows: Easterday Ranches, Inc.,
                  (21-00141-WLH11) and Easterday Farms, a Washington general partnership
             26   (21-00176-WLH11).
             27                                                                            B USH K ORNFELD           L LP
                      COMPLAINT FOR INJUNCTIVE                                                     LAW OFFICES
             28       RELIEF – Page 1                                                         601 Union St., Suite 5000
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              1          Easterday Ranches, Inc. (“Ranches”) and Easterday Farms (“Farms”) are the
              2   debtors and debtors in possession and plaintiffs in the above-captioned adversary
              3
                  proceeding (the “Debtors” or “Plaintiffs”).         The Debtors, by this Complaint, seek
              4
                  injunctive relief to prohibit Rabo Agrifinance LLC, the defendant herein (“Rabo” or
              5
                  “Defendant”), from engaging in collection efforts against the general partners of Farms,
              6
                  Cody Easterday, Debby Easterday and Karen Easterday (in her individual capacity and
              7

              8   as the representative of her recently deceased husband, Gale Easterday), who are co-

              9   owners of several of the Debtors’ real property assets (collectively, the “Partners”).
             10   Such collection efforts by Rabo are the subject of a lawsuit captioned Rabo Agrifinance
             11   LLC, Plaintiff v. 3E Properties et. al. Defendants, Case No. 21-cv-05066, pending in
             12
                  the District Court for the Eastern District of Washington, Richmond Division which is
             13
                  being actively pursued against the Partners (the “Rabo Action”).2 The injunctive relief
             14
                  requested by this Complaint – enjoining Rabo’s collection efforts against the Partners
             15

             16   until the effective date of a plan in these chapter 11 cases – is necessitated as the Debtors

             17   require the immediate and continued attention, assistance and cooperation of the
             18   Partners to facilitate and implement the contemplated sales process of the Debtors’ real
             19   and personal property assets and their continued assistance in connection with the
             20
                  Debtors’ contemplated plan in these chapter 11 cases.3 In support of this Complaint,
             21
                  the Debtors allege as follows:
             22

             23          2
                           The complaint filed by Rabo in the Rabo Action is referred to herein as the “Rabo
                  Complaint” and is attached hereto as Exhibit A.
             24          3
                           By this Complaint, the Debtors do not seek to substantively impair the rights of
             25   Rabo with respect to its asserted claims or liens. Rabo will continue to hold any claims or
                  liens with the same validity, extent and priority that such claims and liens would otherwise
             26   be entitled to in the Debtors’ chapter 11 cases or vis-à-vis the Partners or other defendants in
                  the Rabo Action (the “Rabo Defendants”).
             27                                                                               B USH K ORNFELD           L LP
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              1

              2                        JURISDICATION, VENUE AND PARTIES
              3
                         1.    The court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157
              4
                  and 1334(b). This action is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A)
              5
                  and (O).
              6

              7
                         2.    Venue is proper in this District under 28 U.S.C. § 1409.

              8          3.    The proceeding has been brought in accordance with Rules 7001(7) and
              9   7065 of the Federal Rules of Bankruptcy Procedure.
             10          4.    Debtor Easterday Ranches, Inc. is a Washington State corporation.
             11
                         5.    Debtor Easterday Farms is a Washington State general partnership.
             12
                         6.    Defendant Rabo is a Delaware limited liability company, fka Rabo
             13
                  Agrifinance, Inc.
             14
                                                      THE PARTNERS
             15

             16          7.    Cody Easterday is an individual residing in Franklin County, Washington,
             17   and he is a general partner of Farms and a purported owner4 of parcels of real property
             18   that make-up the “farms” defined here as (a) Goose Gap Farm; (b) River Farm; and (c)
             19
                  Cox Farm.
             20
                         8.    Debby Easterday is an individual residing in Franklin County,
             21
                  Washington, and she is a general partner of Farms and a purported owner of parcels of
             22
                  real property that make-up the “farms” defined here as (a) Goose Gap Farm; (b) River
             23

             24   Farm; and (c) Cox Farm.
             25   4
                   The Debtors are continuing to analyze issues relating to ownership and title of the Sale
             26   Properties and reserve all rights with respect thereto. Nothing herein should be deemed an
                  admission with respect to title or ownership regarding any of the Sale Properties.
             27                                                                           B USH K ORNFELD            L LP
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              1         9.     Karen Easterday is an individual residing in Franklin County, Washington,
              2   and she is a general partner of Farms and a purported owner of parcels of real property
              3
                  that make-up the “farms” defined here as (a) Goose Gap Farm; (b) River Farm; and (c)
              4
                  Cox Farm. Karen Easterday is also the personal representative of the estate of Gale
              5
                  Easterday. Gale Easterday was a general partner of Farms and a purported owner of
              6
                  parcels of real property that make up the “farms” defined here as (a) Goose Gap Farm;
              7

              8   (b) River Farm; and (c) Cox Farm.

              9                                  BACKGROUND FACTS
             10         10.    Plaintiffs incorporate herein and re-allege the allegations above.
             11   A.    Case Background
             12
                        11.    On February 1, 2021 (the “Ranches Petition Date”), Ranches filed a
             13
                  voluntary petition for relief under chapter 11 of Title 11 of the United States Code (the
             14
                  “Bankruptcy Code”) before this court.
             15

             16         12.    On February 8, 2021 (the “Farms Petition Date,” together with the Ranches

             17   Petition Date, the “Petition Dates”), Farms also filed a voluntary petition for relief under
             18   chapter 11 of the Bankruptcy Code before this court.
             19         13.    The Debtors continue to operate and manage their business and affairs as
             20
                  debtors in possession in their chapter 11 cases pursuant to sections 1107 and 1108 of
             21
                  the Bankruptcy Code.
             22
                        14.    On February 16, 2021, the Office of the United States Trustee (the “U.S.
             23

             24   Trustee”) appointed the following creditors to the Ranches Official Committee of

             25   Unsecured Creditors, as amended [Docket Nos. 152, 154, and 155] (the “Ranches
             26   Committee”): (i) J.R. Simplot; (ii) Alto Nutrients; and (iii) Animal Health International.
             27                                                                           B USH K ORNFELD           L LP
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              1         15.    On February 22, the U.S. Trustee appointed the following creditors to the
              2   Farms Official Committee of Unsecured Creditors, as amended [Docket Nos. 187 and
              3
                  193] (the “Farms Committee” and together with the Ranches Committee, the
              4
                  “Committees”): (i) Labor Plus Solutions, Inc.; (ii) The McGregor Company; (iii) John
              5
                  Deer Financial; (iv) Dykman Electrical Inc.; (v) Two Rivers Terminal; and (vi) Frank
              6
                  Bushman.
              7

              8   B.    The Debtors’ Business Operations and the Properties

              9         16.    The Debtors operate commercial farming and ranching operations which
             10   require significant acreage to accommodate the Debtors’ expansive operations. In this
             11   regard, the Debtors’ operations span approximately 22,500 acres over multiple farms,
             12
                  lots/ranches, and other complexes and facilities, which are generally referred to by their
             13
                  common names: (i) Goose Gap Farm, (ii) River Farm, (iii) Nine Canyon Farm, (iv) Cox
             14
                  Farm, and (v) a storage complex and farmhouse on River Farm (the “Storage Complex,”
             15

             16   and, collectively, the “Sale Properties”).

             17         17.    Though the Storage Complex and Nine Canyon Farm (the “Debtor
             18   Properties”) are owned by the Debtors, the Partners, Farms and Ranches own separate
             19   parcels of real property contained within the larger boundaries of Cox Farm and River
             20
                  Farm (the “Joint Properties”). The Partners assert that they own Goose Gap Farm,
             21
                  which is adjacent to or connected with the Joint Properties and/or the Debtor Properties
             22
                  (the “Non-Debtor Property”).        Nevertheless, the Debtors, working with their
             23

             24   professionals, are in the process of untangling the ownership issues with respect to the

             25   various parcels encompassing the above referenced “farms.”
             26

             27                                                                         B USH K ORNFELD            L LP
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              1            18.     Because of the contiguity and interconnectedness of the Sale Properties, it
              2   was critical that the Debtors be able to market and sell all of the Sale Properties in a
              3
                  single process. Doing so would maximize value for all of the Debtors’ stakeholders
              4
                  and, conversely, the failure to do so would have a material negative impact on the
              5
                  proceeds that could be realized from the sale of only the Debtor Properties.
              6
                           19.     On June 16, 2021, the Debtors held an auction for the Sale Properties. At
              7

              8   the conclusion of the auction, Farmland Reserve, Inc. (“Farmland Reserve”) was named

              9   the winning bidder with a bid of $209 million. A hearing to approve the sale to
             10   Farmland Reserve is currently set for July 14, 2021.
             11            20.     The interrelationship between the Partners and the Debtors, the ownership
             12
                  of individual parcels making up the boundaries of the Joint Properties, and the
             13
                  interconnectedness of the businesses and activities conducted on the Sale Properties,
             14
                  including among other things, water delivery systems, together create complicated
             15

             16   issues, including over allocation and the application of net proceeds, that are best

             17   addressed in a single, comprehensive sale process that incorporates all of the Sale
             18   Properties. Therefore, as discussed in further detail herein, the Debtors and Partners
             19   agreed to a court-approved Cooperation Agreement [Docket. No. 655] (the
             20
                  “Cooperation Agreement”),5 the Cooperation Agreement so that those complicated
             21
                  issues would not delay or hinder the effort to sell the Sale Properties. Rather, the parties
             22
                  to the Cooperation Agreement agreed to work together to maximize the value of the
             23

             24   Sale Properties and then determine the resolution of claims among the parties and how

             25   the resulting proceeds should be allocated after the sale.
             26   5
                      A copy of the Cooperation Agreement is attached hereto as Exhibit B.
             27                                                                              B USH K ORNFELD           L LP
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              1         21.    Without the cooperation of the Partners, the Debtors would be in a position
              2   to sell only those Debtor Properties where the state of ownership is uncontested which
              3
                  would delay the sale of the other Sale Properties. Even then, given water rights on the
              4
                  Debtor Properties and their proximity to the Joint Properties and the Non-Debtor
              5
                  Property, selling the Debtor Properties alone would have a material negative effect on
              6
                  the sale and ultimately on the total value received by the Debtors’ estates. Moreover,
              7

              8   even if an agreement were ultimately reached with respect to the sale of the Joint

              9   Properties and/or the Non-Debtor Property, the failure to market and sell them together
             10   would have materially impaired their value.
             11         22.    As a result of the Partners’ cooperation and the inclusion of the Joint
             12
                  Properties and the Non-Debtor Property in the proposed sale, the Debtors’ sale process
             13
                  resulted in a stalking horse bid for the Sale Properties of more than $193 million, and a
             14
                  final winning bid at the auction of $209 million.
             15

             16         23.    In exchange for agreeing to the immediate sale of the Non-Debtor Property

             17   in a cooperative fashion, the Partners obtained via the Cooperation Agreement the
             18   Debtors’ commitment to seek an injunction against any party that sought to take action
             19   against the Partners before the Debtors’ chapter 11 plan became effective. The Partners
             20
                  will not continue to cooperate with the Debtors if they are forced to litigate with their
             21
                  creditors outside of the Debtors’ bankruptcy cases while the sale process is ongoing
             22
                  before an allocation has been determined and a plan confirmed. Of the six Enjoined
             23

             24   Parties identified in the Cooperation Agreement, five have consented to the terms of the

             25   injunction in the Cooperation Agreement. Rabo is the lone party that has refused to
             26   consent, necessitating the bringing of this action.
             27                                                                         B USH K ORNFELD           L LP
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              1         24.    If the Debtors were to default in seeking or obtaining an injunction against
              2   the last hold-out, Rabo, and the Partners were to terminate the Cooperation Agreement
              3
                  before the completion of the sales, the financial consequences to the Debtors and their
              4
                  estates would be devastating. Even if the sales were able to be completed, the Partners’
              5
                  continuing obligation to cooperate in the development of an allocation process and their
              6
                  willingness to negotiate a consensual plan are essential to the Debtors’ efforts to develop
              7

              8   a plan that provides for recovery to the creditors in a reasonable period of time. If an

              9   agreement with respect to the allocation of the sale proceeds and/or a contribution of
             10   the Partners to a plan is not achieved, then any meaningful recovery to creditors will
             11   become mired in extensive and costly litigation to the detriment of all.
             12
                  C.    The Rabo Debt and the Rabo Action
             13
                        25.    Rabo filed the Rabo Complaint naming the Partners, 3E Properties, and
             14
                  Jody Easterday as defendants (the “Rabo Defendants”). At its core, Rabo is seeking to
             15

             16   collect on a debt that it alleges it is owed by Farms and Cody Easterday, referred to in

             17   the Complaint as the VF Loan (the “Farms Loan”). Rabo asserts that the Farms Loan
             18   is in default and that it is owed no less than $1,053,244.59 (as of February 8, 2021) with
             19   interest accruing at a rate of twenty-one percent (21%) per annum. Rabo Complaint
             20
                  ¶55. Rabo further asserts that the Farms Loan is secured by the Property and is subject
             21
                  to the Mortgages. Rabo Complaint ¶ 13. The Property is owned by 3E Properties, Jody
             22
                  Easterday and the Partners. Rabo Complaint ¶¶ 5-9. The Rabo Complaint further
             23

             24   alleges that Farms is obligated under the Mortgages and so each of the Partners is jointly

             25   and severally liable for the Farms Loan under Washington law. Rabo Complaint ¶¶ 6-9.
             26

             27                                                                          B USH K ORNFELD           L LP
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              1         26.    Rabo’s assertions with respect to both the Event of Default and the security
              2   for the Farms Loan are based on reading together two separate loan agreements referred
              3
                  to in the Rabo Complaint as the RLOC Credit Agreement and the MCA. It is the
              4
                  Debtors’ understanding that the obligations of the borrowers under the RLOC Credit
              5
                  Agreement and the MCA have been satisfied in full, but Rabo has refused to release its
              6
                  liens in connection with those agreements in order to leverage them to collect on the
              7

              8   separate Farms Loan debt. In fact, Rabo seized on the death of Gale Easterday to declare

              9   an Event of Default under the RLOC Credit Agreement and the MCA (notwithstanding
             10   payment in full), and has asserted that this Event of Default constituted a cross-default
             11   under the Farms Loan. Rabo Complaint ¶ 44.
             12
                        27.    Rabo further alleges that the filing of bankruptcy by Farms was a default
             13
                  under the Farms Loan but Rabo is not suing Farms because of the automatic stay.
             14
                  Complaint ¶ 45.
             15

             16         28.    Based on these alleged Events of Default, Rabo is suing the Partners and

             17   the other Rabo Defendants in order to foreclose on the Mortgages that Rabo alleges
             18   secure the Farms Loan based on language in the RLOC Credit Agreement and MCA
             19   that broadly defines the “Obligations” being secured to include other indebtedness of
             20
                  the Borrowers, including Cody Easterday, under those agreements. Rabo Complaint
             21
                  ¶¶ 22-24, 30-36.
             22
                        29.    The Rabo Action is being actively pursued by Rabo against the Partners,
             23

             24   and July 1, 2021 is the deadline for the Partners and the other Rabo Defendants to

             25   answer or otherwise respond to the Rabo Complaint. The Debtors have requested that
             26

             27                                                                        B USH K ORNFELD            L LP
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              1    Rabo stay its foreclosure collection actions against the Partners – a request that Rabo
              2    has refused.
              3
                   D.    Marketing of the Properties
              4
                         30.      On March 26, 2021, the Debtors filed the Notice and Motion for (I) an
              5

              6    Order (A) Approving Bid Procedures for the Sale of Assets; (B) Approving Procedures

              7    for the Assumption and Assignment of Executory Contracts and Unexpired Leases; (C)
              8    Scheduling the Auction and Sale Hearing; and (D) Granting Related Relief; and (II) an
              9    Order (A) Approving the Sale Free and Clear of All Claims, Liens, and Encumbrances;
             10
                   and (B) Approving the Assumption and Assignment or Rejection of Executory Contracts
             11
                   and Unexpired Leases (the “Bid Procedures Motion”). [Docket No. 486]. The Bid
             12
                   Procedures Motion sought an order seeking to establish a process for the submission of
             13

             14    bids relating to the Sale Properties. The court entered an order granting the Bid

             15    Procedures Motion on April 29, 2021 [Docket No. 684].
             16          31.      On May 19, 2021, the Debtors filed the Supplemental Motion for Approval
             17    of (A) Designation of Stalking Horse Bidder and Related Bid Protections in Connection
             18
                   with Auction for Sale of Assets; and (B) Granting Related Relief [Docket No. 724] (the
             19
                   “Stalking Horse Motion”) seeking, among other things, approval of a Stalking Horse
             20
                   Bidder (as defined in the Stalking Horse Motion) and approval of certain bid protections
             21

             22    for the Stalking Horse Bidder. The Stalking Horse Motion sought approval of entry

             23    into the Stalking Horse APA by and among the Debtors and the Partners, as sellers,
             24    and the Stalking Horse Bidder as buyer. As set forth in the Stalking Horse Motion, the
             25    purchase price for the Sale Properties in the Stalking Horse APA was approximately
             26

             27                                                                          B USH K ORNFELD           L LP
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              1    $193 million. On May 27, 2021, the court entered an order approving the Stalking
              2    Horse Motion [Docket No. 744].
              3
                         32.    The auction regarding the sale of the Sale Properties was held on June 16,
              4
                   2021 and resulted in a winning bid of $209 million. On June 21, 2021, the Debtors filed
              5
                   the Notice of Auction Results [Docket No. 830]. The hearing on the sale of the Sale
              6
                   Properties is currently scheduled for July 14, 2021.
              7

              8          33.    The Debtors are proceeding with the sale of the Sale Properties and expect

              9    to receive significant value from their sale. Indeed, as a result of the cooperation of the
             10    Partners and the inclusion of the Joint Properties and the Non-Debtor Property in the
             11    proposed sale, the Debtors’ sale process resulted in a stalking horse bid for the Sale
             12
                   Properties of $193 million, and resulted in a final winning bid at the auction of $209
             13
                   million. This terrific result was only achieved with the significant cooperation of the
             14
                   Partners. Moreover, closing the sale in the coming weeks and confirming a successful
             15

             16    plan process in the coming months is dependent upon the ongoing cooperation of the

             17    Partners. This cooperation is threatened by the continued prosecution of the Rabo
             18    Action.
             19    E.    Cooperation Agreement Between the Debtors and the Partners
             20
                         34.    Debtors require the immediate and ongoing assistance and cooperation of
             21
                   the Partners – as general partners of Farms, and owners of several of the Sale Properties
             22
                   – to facilitate the sales process in connection with the Debtors’ anticipated plan. The
             23

             24    Partners’ cooperation is of critical importance to this process, because it will allow the

             25    Debtors to assure prospective purchasers of their ability to sell all of the parcels
             26

             27                                                                           B USH K ORNFELD           L LP
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              1    connected to a particular property and ensure the distribution of the proceeds of such
              2    sales to claimants pursuant to the plan.
              3
                         35.    In this regard, the Debtors and the Partners entered into the Cooperation
              4
                   Agreement. The Debtors filed a Motion for an Order Authorizing and Approving
              5
                   Cooperation Agreement on March 26, 2021 [Docket No. 487, as revised by Docket Nos.
              6
                   493, 576 and 640]. The court entered an order approving the Debtors’ entry into the
              7

              8    Cooperation Agreement on April 28, 2021. [Docket No. 655].

              9          36.    Pursuant to the terms of the Cooperation Agreement, the Partners agreed
             10    to allow the Joint Properties and the Non-Debtor Property to be included as Sale
             11    Properties and to cooperate in their collective marketing and sale. The Cooperation
             12
                   Agreement also provides for the development of an “Allocation Protocol” for
             13
                   determining the allocation of the sale proceeds among the sellers. It is the Debtors’
             14
                   hope that through the process of allocation contemplated in the Cooperation Agreement,
             15

             16    an agreement can also be reached with the Partners concerning their contribution of

             17    proceeds to support plan distributions for each of the Debtors. In order to complete a
             18    sale process that has already moved passed the auction stage and is now in the critical
             19    closing phase, the Debtors require the dedicated, continued cooperation of the Partners.
             20
                         37.    A key term of the Cooperation Agreement is that the Debtors obtain a
             21
                   Consent to Injunction (as defined in the Cooperation Agreement) or an order of the
             22
                   court enjoining collection efforts against the Partners through the effective date of a
             23

             24    plan. The Cooperation Agreement identifies six parties, the Enjoined Parties, from

             25    whom the Debtors are required to obtain such a consent or injunction. Without such
             26    consents or injunctive orders ensuring the dedication of resources, involvement, support
             27                                                                           B USH K ORNFELD           L LP
                    COMPLAINT FOR INJUNCTIVE                                                      LAW OFFICES
             28     RELIEF – Page 12                                                         601 Union St., Suite 5000
                                                                                          Seattle, Washington 98101-2373
                                                                                             Telephone (206) 292-2110
                                                                                             Facsimile (206) 292-2104

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              1    and cooperation of the Partners, the Debtors’ sales and plan efforts would be wholly
              2    undermined. Of the six identified Enjoined Parties, five, representing approximately
              3
                   $145 million in asserted claims, have agreed to a form of Consent to Injunction or
              4
                   forbearance agreement. Rabo, with its approximate $1 million claim, is the lone
              5
                   holdout.
              6
                         38.    A successful sale process inures to the benefit of all of the creditors of
              7

              8    these estates, and could result in satisfaction of any claim of Rabo that is allowed against

              9    Farms thereby resolving any issues relating to the underlying debt and alleged collateral
             10    in the Rabo Action.
             11          39.    Accordingly, by this Complaint, the Debtors seek an order enjoining
             12
                   Rabo’s prosecution of the Rabo Action, and any other collection efforts, against the
             13
                   Partners through and including the effective date of a plan.
             14

             15                                FIRST CLAIM FOR RELIEF
             16
                      (For Injunctive Relief under 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7065)
             17

             18          40.    Plaintiffs incorporate herein and re-allege the allegations above.
             19          41.    Plaintiffs seek a preliminary injunction staying the continued prosecution
             20    of Rabo’s collection actions against the Partners, including the Rabo Action, under 11
             21
                   U.S.C. § 105(a) and Federal Rule of Bankruptcy Procedure 7065 through and including
             22
                   the effective date of a plan.
             23
                         42.    Section 105(a) of the Bankruptcy Code authorizes the court to issue “any
             24
                   order, process or judgment that is necessary or appropriate to carry out the provisions
             25

             26    of this title.” 11 U.S.C. § 105(a). Relief under section 105(a) is particularly appropriate
             27                                                                            B USH K ORNFELD           L LP
                    COMPLAINT FOR INJUNCTIVE                                                       LAW OFFICES
             28     RELIEF – Page 13                                                          601 Union St., Suite 5000
                                                                                           Seattle, Washington 98101-2373
                                                                                              Telephone (206) 292-2110
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              1    in chapter 11 cases, such as the above-captioned cases, in which the debtors’ estates are
              2    impaired by the continuation of litigation against non-debtor parties that impacts the
              3
                   debtors’ ability to maximize the value of estate assets, proceed with the sale of such
              4
                   assets and propose a plan that provides for the payment of creditors’ claims from the
              5
                   proceeds of such sales.
              6
                         43.    Under 11 U.S.C. § 105(a), this court has the power to enjoin Rabo from
              7

              8    pursuing the Partners in the Rabo Action, and from pursuing any other collection efforts

              9    by Rabo that would impact the Debtors’ ability to maximize the value and sell assets of
             10    the estate and propose and confirm a plan that provides for the payment of creditors’
             11    claims from the proceeds from such sales.
             12
                         44.    Unless enjoined, Rabo’s conduct will irreparably harm the Debtors – and
             13
                   their creditors – by distracting the Partners at the very point where the Debtors’ require
             14
                   the Partners’ attention and cooperation in connection with the sales and reorganization
             15

             16    process.

             17          45.    The Partners have agreed to the terms of the Cooperation Agreement with
             18    the Debtors on the condition that, inter alia, Rabo is enjoined from pursuing collection
             19    efforts against the Partners as requested by way of this Complaint.
             20
                         46.    The Debtors intend to file a joint chapter 11 plan to provide for the
             21
                   payments of creditors’ claims, including any allowed claims of Rabo. The funding of
             22
                   the plan will be from the proceeds received by the Debtors’ estates as a result of the
             23

             24    contemplated sales process of the Sale Properties – a process that has the support of the

             25    major creditor constituencies in these chapter 11 cases. The cooperation of the Partners
             26

             27                                                                           B USH K ORNFELD           L LP
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              1    is a critical component of this process, and a key to the Debtors’ ability to confirm a
              2    plan.
              3
                            47.   The relief sought here does not impact the asserted claims and liens of
              4
                   Rabo, which will continue to have the same validity, extent and priority as such claims
              5
                   and liens would otherwise be entitled absent this action.
              6
                            48.   If Rabo is allowed to continue with its current course of conduct, it will
              7

              8    unnecessarily put the Debtors’ reorganization in jeopardy.

              9             49.   The potential harm to the Debtors and other creditors from not enjoining
             10    the collection efforts far outweighs the potential harm to Rabo.
             11             50.   Issuance of injunctive relief will serve the public interest in that it will
             12
                   protect the integrity of the Debtors’ plan efforts. This is in the best interests of all
             13
                   creditors.
             14
                            51.   The Debtors lack an adequate remedy at law. The Partners are the general
             15

             16    partners of Farms, and asserted co-owners of certain of the Sale Properties and asserted

             17    sole owners of certain other Sale Properties. The Partners, and their cooperation, are
             18    thus an essential part of the Debtors’ efforts to confirm a chapter 11 plan that treats all
             19    creditors fairly. Rabo’s pursuit of the Partners is interfering with the Partners’ readiness
             20
                   and ability to cooperate in the contemplated sale process, which interference will impair
             21
                   the maximization of value and the payment of creditors’ claims in these chapter 11
             22
                   cases.
             23

             24             52.   Thus, injunctive relief enjoining Rabo from pursuing its collection against

             25    the Partners, including by way of the pending Rabo Action, is both necessary and
             26    appropriate under 11 U.S.C. § 105(a).
             27                                                                            B USH K ORNFELD           L LP
                    COMPLAINT FOR INJUNCTIVE                                                       LAW OFFICES
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              1         WHEREFORE, the Debtors respectfully pray for judgment as follows:
              2         A. For a determination and judgment on the First Claim for Relief that the
              3
                             Debtors are entitled, under 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7065, to
              4
                             injunctive relief prohibiting Rabo from undertaking or pursuing any collection
              5
                             efforts against the Partners, including by way of the Rabo Action, through and
              6
                             including the effective date of a plan;
              7

              8         B.      For costs of suit incurred herein; and

              9         C.      Such other and further relief as the court deems just and proper.
             10

             11    DATED: June 28, 2021             BUSH KORNFELD LLP
             12                                     /s/ Thomas A. Buford, III
             13                                     THOMAS A. BUFORD, III (WSBA 52969)
                                                    BUSH KORNFELD LLP
             14
                                                    RICHARD M. PACHULSKI (Admitted Pro Hac Vice)
             15                                     JEFFREY W. DULBERG (Admitted Pro Hac Vice)
                                                    JASON H. ROSELL (Admitted Pro Hac Vice)
             16                                     PACHULSKI STANG ZIEHL & JONES LLP
             17                                     Attorneys for Plaintiffs and Debtors and Debtors in
                                                    Possession
             18

             19

             20

             21

             22

             23

             24

             25

             26

             27                                                                           B USH K ORNFELD           L LP
                    COMPLAINT FOR INJUNCTIVE                                                      LAW OFFICES
             28     RELIEF – Page 16                                                         601 Union St., Suite 5000
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                            EXHIBIT A




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4    Michael R. Johnson (Pro Hac Vice Application Pending)
     RAY QUINNEY & NEBEKER P.C.
5    36 South State Street, Suite 1400
6
     Salt Lake City, Utah 84111
     Telephone: (801) 532-1500
7    Email: mjohnson@rqn.com
8    Attorneys for Rabo AgriFinance LLC
9

10       IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
                         WASHINGTON, RICHLAND DIVISION
11
     RABO AGRIFINANCE LLC, a Delaware
12
     limited liability company, fka Rabo                    Civil Case No.
13   Agrifinance, Inc.,

14                                       Plaintiff,           COMPLAINT FOR JUDICIAL
                                                           FORECLOSURE OF MORTGAGES,
15
                                                          AND FOR MONEY JUDGMENT BASED
            v.
16                                                                ON RCW 25.05.125

17
     3E PROPERTIES, a Washington general
     partnership; KAREN EASTERDAY, as an
18   individual, as the personal representative of
     the estate of Gale Easterday, deceased, and
19   the marital community of Karen Easterday
20
     and Gale Easterday; CODY EASTERDAY
     and DEBBY EASTERDAY, individually and
21   the marital community thereof; and JODY
     EASTERDAY, individually and the marital
22   community of Jody Easterday and Andrew H.
23
     Wills,

24                                   Defendants.
25


                                                                        DAVIDSON BACKMAN MEDEIROS
                                                                                    ATTORNEYS AT LAW
                                                                             A PROFESSIONAL LIMITED LIABILITY COMPANY
                                                                        1550 BANK OF AMERICA FINANCIAL CENTER
     Complaint                                                                601 WEST RIVERSIDE AVENUE
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           COMES NOW Plaintiff Rabo AgriFinance LLC, fka Rabo Agrifinance, Inc.,

1    by and through its counsel of record, and for its causes of action against
2
     Defendants 3E Properties, Karen Easterday (individually, as the personal
3

4    representative for Gale Easterday, deceased, and the martial community of Karen
5    Easterday and Gale Easterday), Cody Easterday (individually and the marital
6
     community of Cody Eaterday and Debby Easterday), Debby Easterday
7

8    (individually and the marital community of Debby Easterday and Cody Easterday),
9
     and Jody Easterday (individually and the marital community of Jody Easterday and
10

11   Andrew H. Wills), alleges as follows:
12                   THE PARTIES, JURISDICTION, AND VENUE
13
           1.      Plaintiff Rabo AgriFinance, LLC (“Plaintiff” or “Rabo”) is a
14

15   Delaware limited liability company that is authorized to do business and is doing
16   business in the State of Washington.
17
           2.      Rabo’s sole member is Utrecht-America Holdings, Inc. (“UAH”).
18

19   UAH is a Delaware corporation with its principal place of business in New York
20
     City, New York.
21

22         3.      Defendant 3E Properties (“3E”) is a Washington general partnership
23
     and is the owner of portions of the real property, located in Franklin County,
24
     Washington, that is the subject of this action. 3E’s general partners are Jody
25


                                                               DAVIDSON BACKMAN MEDEIROS
                                                                         ATTORNEYS AT LAW
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     Easterday, Cody A. Easterday, Debby Easterday, Gale A. Easterday and Karen L.

1    Easterday, all of whom are residents of the State of Washington.
2
              4.     3E is sued in this action as a property owner and as a mortgagor under
3

4    the 2009 Mortgage (defined below) and the 2018 Mortgage (defined below)
5    (collectively, the “Mortgages”), and Rabo seeks to foreclose 3E’s interest in the
6
     real property encumbered by the Mortgages.
7

8             5.     Defendant Karen L. Easterday (“Karen1”) is a Washington resident
9
     who is sued in this action in her individual capacity, in her capacity as the personal
10

11   representative of Gale A. Easterday (“Gale”), who is now deceased [See Probate
12   Case No. 21-4-50004-11, Franklin County, Washington], and to the extent
13
     applicable, the marital community of Karen and Gale, are sued in this action as an
14

15   owner and mortgagor under the Mortgages, and Rabo seeks to foreclose Karen’s
16
     interest in the real property encumbered by the Mortgages. Karen also is a general
17

18   partner of Easterday Farms, a Washington general partnership (“Farms”). Rabo
19   also seeks a separate money judgment against Karen pursuant to RCW 25.05.125,
20
     as Farms is an obligor of the debt at issue in this action and Karen is jointly and
21

22   severally liable for the debt under Washington law.
23

24   1
         Due to the numerous Defendants bearing the same last name, Easterday, Plaintiff will use the
25
     first names for each Defendant. No disrespect is intended.

                                                                       DAVIDSON BACKMAN MEDEIROS
                                                                                 ATTORNEYS AT LAW
     Complaint-2                                                          A PROFESSIONAL LIMITED LIABILITY COMPANY
                                                                       1550 BANK OF AMERICA FINANCIAL CENTER
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           6.      On information and belief, any and all actions taken by Karen with

1    respect to the matters set forth herein were taken both on behalf of Karen
2
     individually and on behalf of the marital community with Gale. Rabo therefore is
3

4    also seeking a money judgment against the marital community comprised of Karen
5    and Gale.
6
           7.      Defendant Cody Easterday (“Cody”) is a Washington resident. Cody
7

8    individually, and to the extent applicable, the marital community of Cody and
9
     Debby Easterday, are sued in this action, as an owner and mortgagor under the
10

11   Mortgages, and Rabo seeks to foreclose Cody’s interest in the real property
12   encumbered by the Mortgages. Cody also is a general partner of Farms. Rabo also
13
     seeks a separate money judgment against Cody pursuant to RCW 25.05.125, as
14

15   Farms is an obligor of the debt at issue in this action and Cody is jointly and
16
     severally liable for the debt under Washington law. Rabo also seeks a money
17

18   judgment against Cody for breach of contract.
19         8.      On information and belief, any and all actions taken by Cody with
20
     respect to the matters set forth herein were taken both on behalf of Cody
21

22   individually and on behalf of the marital community with Debby Easterday. Rabo
23
     therefore is also seeking a money judgment against the marital community
24

25   comprised of Cody and Debby Easterday.

                                                                DAVIDSON BACKMAN MEDEIROS
                                                                          ATTORNEYS AT LAW
     Complaint-3                                                   A PROFESSIONAL LIMITED LIABILITY COMPANY
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           9.      Defendant Debby Easterday (“Debby”) is a Washington resident.

1    Debby individually, and to the extent applicable, the marital community of Cody
2
     and Debby, are sued in this action, as an owner and mortgagor under the
3

4    Mortgages, and Rabo seeks to foreclose Debby’s interest in the real property
5    encumbered by the Mortgages. Debby also is a general partner of Farms. Rabo
6
     also seeks a separate money judgment against Debby pursuant to RCW 25.05.125,
7

8    as Farms is an obligor of the debt at issue in this action and Debby is jointly and
9
     severally liable for the debt under Washington law.
10

11         10.     On information and belief, any and all actions taken by Debby with
12   respect to the matters set forth herein were taken both on behalf of Debby
13
     individually and on behalf of the marital community with Cody. Rabo therefore is
14

15   also seeking a money judgment against the marital community comprised of Cody
16
     and Debby.
17

18         11.     Defendant Jody Easterday (“Jody”) is a Washington resident. Jody,
19   and to the extent applicable, the marital community of Jody and Andrew H. Willis,
20
     are sued in this action, as an owner and mortgagor under the Mortgages, and Rabo
21

22   seeks to foreclose Jody’s interest in the real property encumbered by the
23
     Mortgages.
24

25


                                                                DAVIDSON BACKMAN MEDEIROS
                                                                          ATTORNEYS AT LAW
     Complaint-4                                                   A PROFESSIONAL LIMITED LIABILITY COMPANY
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           12.       On information and belief, to the extent applicable, any and all actions

1    taken by Jody with respect to the matters set forth herein were taken both on behalf
2
     of Jody individually and on behalf of the marital community comprised of Jody
3

4    and Andrew H. Wills.
5          13.       This action concerns real property and related fixtures and
6
     improvements described more fully in Exhibit “A” and Exhibit “B” attached
7

8    hereto (collectively, the “Property”). Generally speaking, the Property has the
9
     following property addresses, Assessor Parcel Numbers, and abbreviated legal
10

11   descriptions:
12         Exhibit “A”--Property Encumbered by 2009 Mortgage:
13
           Property Address: 5235 Industrial Way/1427 North 1st Avenue, Pasco,
14
                             Washington 99301
15
           Assessor Parcel Numbers:            112021017 and 113130040
16

17         Abbreviated Legal:           Portion of SW4 of 8-9-30 and Blocks 13 and 14,
18                                      Northern Pacific Addition to the City of Pasco
19         Exhibit “B”--Property Encumbered by 2018 Mortgage:
20
           Property Address: 90 and 110 Pillsbury Road, Mesa Washington 99343
21

22         Assessor Parcel Numbers:            121231032 and 121231091
23
           Abbreviated Legal:           Lots 1 and 2, Short Plan No. 98-09
24

25


                                                                  DAVIDSON BACKMAN MEDEIROS
                                                                            ATTORNEYS AT LAW
     Complaint-5                                                     A PROFESSIONAL LIMITED LIABILITY COMPANY
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           14.     To Rabo’s knowledge, none of the Defendants is in the military

1    service for the United States of America or is entitled to the protections of the
2
     Servicemembers’ Civil Relief Act or similar state protections.
3

4          15.     This Court has original diversity jurisdiction in this matter pursuant to
5    28 U.S.C. § 1332 as there is complete diversity between Rabo, on the one hand,
6
     and each of the Defendants, on the other hand, and the damages in this case exceed
7

8    the sum or value of $75,000.00, exclusive of interest and costs.
9
           16.     With respect to citizenship of the parties, Rabo is a citizen of
10

11   Delaware and Missouri, and its sole member, UAH, is a citizen of Delaware and
12   New York. Thus, for purposes of diversity jurisdiction, Rabo is a citizen of
13
     Delaware, Missouri and New York. All Defendants are citizens of Washington.
14

15   There is thus complete diversity between Rabo and the Defendants in this action.
16
           17.     Venue is proper in this judicial district pursuant to 28 U.S.C. §
17

18   1391(b)(1) because all Defendants are residents of the State of Washington, and at
19   least one of the Defendants resides in the judicial district known as the United
20
     States District Court for the Eastern District of Washington.
21

22         18.     Venue also is proper in this judicial district pursuant to 28 U.S.C. §
23
     1391(b)(2) because a substantial part of the events or missions giving rise to
24

25


                                                                 DAVIDSON BACKMAN MEDEIROS
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     Complaint-6                                                    A PROFESSIONAL LIMITED LIABILITY COMPANY
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     Rabo’s claims in this case occurred in this judicial district, and because the real

1    property that is the subject of this action is located in this judicial district.
2
                                 FACTUAL BACKGROUND
3

4           19.    Rabo incorporates and realleges the preceding paragraphs of this
5    complaint, as if fully set forth herein.
6
     A.     The RLOC Credit Agreement, the MCA, and the Mortgages Granted
7
            Thereunder.
8
            20.    On September 4, 2009, the Defendants and other persons and entities
9

10   not named as parties herein entered into a Credit Agreement (the “RLOC Credit
11
     Agreement”) with Rabo related to an operating line of credit loan. The RLOC
12

13   Credit Agreement was subsequently amended numerous times, including through a
14
     Tenth Amendment to Credit Agreement and Other Loan Documents, dated
15
     January 2, 2018.
16

17          21.    To secure their obligations under the RLOC Credit Agreement, the
18
     Defendants executed and delivered to Rabo that certain Washington Mortgage,
19

20   Security Agreement, Fixture Filing and Financing Statement, dated September 4,
21
     2009 (the “2009 Mortgage”). The 2009 Mortgage was duly recorded on
22
     September 18, 2009 as AFN#1740144, records of the Auditor of Franklin County,
23

24   Washington. The property encumbered by the 2009 Mortgage (the “2009
25
     Mortgage Property”) is legally described in Exhibit “A” attached hereto, has a
                                                                   DAVIDSON BACKMAN MEDEIROS
                                                                             ATTORNEYS AT LAW
     Complaint-7                                                      A PROFESSIONAL LIMITED LIABILITY COMPANY
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     property address of 5235 Industrial Way/1427 North 1st Avenue, Pasco, WA

1    99301, and bears Assessor Parcel Numbers 112021017 and 113130040.
2
           22.     By its terms, the 2009 Mortgage secures not only repayment of any
3

4    amounts owed under the RLOC Credit Agreement but also “the payment of such
5    additional loans or advances and such other debts, obligations and liabilities of
6
     every kind or character, of Mortgagor or the maker of the Note, evidenced by a
7

8    promissory note, guaranty, or otherwise, whether one or more, now existing or
9
     arising in the future, in favor of the applicable Mortgagee or any other person;
10

11   PROVIDED HOWEVER THAT such other loans, advances, debts, obligations and
12   liabilities shall be secured by this Mortgage only if the promissory note, guaranty,
13
     or other document evidencing such shall recite that it is to be secured by this
14

15   Mortgage . . .”
16
           23.     By its terms, the 2009 Mortgage also secures “the payment of any
17

18   substitute notes, renewals, reamortizations, conversion agreements and extensions
19   of all indebtedness secured by this Mortgage.”
20
           24.     All Defendants named herein, including Cody, are the “maker of the
21

22   Note” that was executed in conjunction with the RLOC Credit Agreement.
23
     Further, all Defendants named herein, including Cody, are Mortgagors under the
24

25   2009 Mortgage.

                                                                DAVIDSON BACKMAN MEDEIROS
                                                                          ATTORNEYS AT LAW
     Complaint-8                                                   A PROFESSIONAL LIMITED LIABILITY COMPANY
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                                                                       FACSIMILE: (509) 623-1660
                                                                            (509) 624-4600
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           25.     On August 9, 2018, the Defendants and other persons and entities not

1    named as parties herein entered into a Master Credit Agreement (the “MCA”) with
2
     Rabo to evidence and document both new loans and existing loans, including the
3

4    prior loan evidenced by the RLOC Credit Agreement. A true and correct copy of
5    the MCA, including the Schedule of Definitions and Covenants to the MCA, is
6
     attached hereto as Exhibit “C”.
7

8          26.     The MCA expressly referenced the RLOC Credit Agreement, and
9
     provided in part as follows:
10

11                This Master Credit Agreement is an amendment and
           restatement of the terms and conditions of Lender’s loan or credit
12         facility as evidenced by that certain Credit Agreement dated
13         September 4, 2009, as amended to the date hereof . . . (the “Existing
           Loan”). This Credit Agreement does not release or extinguish the
14
           indebtedness, liabilities and Obligations of the Borrower under the
15         Existing Loan(s). All Liens and security interests in any real or
           personal property granted to or for the benefit of Lender for purposes
16
           of securing the Existing Loan(s) also secure the Obligations; and
17         Borrower reaffirms the terms and provisions of any mortgage, deed of
18         trust, security agreement or other Instrument or agreement under
           which any such Lien or such Lien or security interest has been granted
19         to Lender.
20
           27.     Accordingly, by its express terms, all Liens granted to Rabo under the
21

22   RLOC Credit Agreement (including the liens evidenced by the 2009 Mortgage)
23   also secure all Obligations as defined in the MCA.
24

25


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                                                                         ATTORNEYS AT LAW
     Complaint-9                                                  A PROFESSIONAL LIMITED LIABILITY COMPANY
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           28.      To further secure their obligations under the MCA, Defendant 3E

1    executed and delivered to Rabo that certain Mortgage, Assignment of Rents and
2
     Security Agreement, dated August 9, 2018 (the “2018 Mortgage”). The 2018
3

4    Mortgage was duly recorded on September 4, 2018 as AFN#1883943, records of
5    the Auditor of Franklin County, Washington. The property encumbered by the
6
     2018 Mortgage (the “2018 Mortgage Property”) is legally described in Exhibit “B”
7

8    attached hereto, has a property address of 90 and 110 Pillsbury Road, Mesa WA
9
     99343, and bears Assessor Parcel Numbers 121231032 and 121231091.
10

11         29.      The 2009 Mortgage Property and the 2018 Mortgage Property are
12   collectively referred to herein as the “Property,” as set forth more fully above.
13
           30.      By its terms, the 2018 Mortgage secures the “Secured Obligations”
14

15   identified in the mortgage, including “all Obligations (defined in the MCA).” The
16
     2018 Mortgage also states that the term “Secured Obligations” includes “future
17

18   advances made by Mortgagee or Secured Parties, at their option, for any purpose,
19   and all other future Secured Obligations.”
20
           31.      As noted above, the MCA expressly says that the 2009 Mortgage
21

22   secures all Obligations as defined in the MCA, and the 2018 Mortgage also says
23
     that it secures all Obligations as defined in the MCA.
24

25


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     Complaint-10                                                  A PROFESSIONAL LIMITED LIABILITY COMPANY
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             32.    The MCA defines “Obligations” as “the Loan Obligations and the

1    Hedging Obligations.”
2
             33.    The MCA defines “Loan Obligations” as “all indebtedness, liabilities
3

4    and Obligations of Borrower to Lender arising pursuant to any of the Loan
5    Documents and any Loan Type, whether now existing or hereafter arising, whether
6
     direct, indirect, related, unrelated, fixed, contingent, liquidated, unliquidated, joint,
7

8    several, or joint and several.”
9
             34.    The MCA defines “Loan Documents” as including, among other
10

11   documents, “all other agreements and instruments required by Lender for purposes
12   of evidencing or securing any Loan, now existing or hereinafter amended,
13
     modified or supplemented between Lender and any Borrower.”
14

15           35.    Because both Mortgages secure “Obligations” as defined in the MCA,
16
     and given the broad definition of Obligations in the MCA, the Mortgages secure, in
17

18   addition to any obligations specifically identified in either the RLOC Credit
19   Agreement or the MCA, any Obligation for any Loan that has been created or
20
     extended by Rabo to any Borrower pursuant to any Loan Document for any Loan
21

22   Type.
23
             36.    Cody is a named borrower under both the RLOC Credit Agreement
24

25   and the MCA. Thus, the Mortgages secure any Obligation of Cody to Rabo even if

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     Complaint-11                                                    A PROFESSIONAL LIMITED LIABILITY COMPANY
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     that Obligation is not owed by any of the other parties to either the RLOC Credit

1    Agreement or the MCA.
2
     B.    The Vendor Finance Loan and Events of Default Thereunder.
3

4          37.      On March 6, 2020, Cody and non-party Farms entered into that
5    certain QuickLine Credit Application and Account Agreement (the “VF Loan
6
     Agreement”) to evidence another loan from Rabo (the “VF Loan”). A true and
7

8    correct copy of the VF Loan Agreement is attached hereto as Exhibit “D”.
9
           38.      The VF Loan Agreement provides that the VF Loan “shall be secured
10

11   by any existing and future security agreements, mortgages, deeds of trust or other
12   pledges of collateral (the “Security Documents”) between RAF and you, if any.”
13
           39.      The VF Loan Agreement defines certain events that will cause a
14

15   default under the VF Loan. The enumerated events include (a) the failure to make
16
     payment on the VF Loan when due, (b) if there is a default pursuant to the terms of
17

18   any other loan or loan document that a borrower has with Rabo, and (c) if a
19   borrower files for bankruptcy relief.
20
           40.      The VF Loan Agreement provides that prior to default, the unpaid
21

22   principal owed on the VF Loan will accrue interest “at the non-default annual rate
23
     equal to ten percent (10.00%) in excess of the Prime Rate (the ‘Standard Rate’)
24

25


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     Complaint-12                                                  A PROFESSIONAL LIMITED LIABILITY COMPANY
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     which rate will be adjusted as of each day of change thereof to reflect changes in

1    the Prime Rate.”
2
           41.      The VF Loan Agreement further provides that, upon default, the
3

4    unpaid principal owed on the VF Loan will accrue default interest at the rate of
5    twenty-one percent (21%) per annum.
6
           42.      The VF Loan Agreement further provides that Rabo is entitled to
7

8    collect “all costs of collection” including “reasonable attorney fees, together with
9
     interest at the default rate” if there is a default of the VF Loan.
10

11         43.      Gale was a borrower under the RLOC Credit Agreement and the
12   MCA. Cody also is a borrower under the RLOC Credit Agreement and the MCA,
13
     as well as a borrower under the VF Loan Agreement.
14

15         44.      Gale passed away on December 10, 2020, and this resulted in an
16
     Event of Default under the RLOC Credit Agreement and the MCA (the death of a
17

18   borrower is an express Event of Default under the documents related to those
19   agreements). The Events of Default under the RLOC Credit Agreement and the
20
     MCA also constituted a default under the VF Loan Agreement.
21

22         45.      Further, on February 8, 2021, Farms filed a voluntary bankruptcy
23
     petition in the United States Bankruptcy Court for the Eastern District of
24

25   Washington, Case No. 21-00176-WLH11. Farms is not being sued in this action

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     because the automatic bankruptcy stay of 11 U.S.C. § 362(a) prevents such suit. In

1    any event, the bankruptcy filing by Farms was a separate and independent default
2
     under the VF Loan Agreement.
3

4          46.      The VF Loan has been accruing default interest since December 11,
5    2020, the day after Gale passed away. As of February 8, 2021, the amount of
6
     $1,053,244.59 was due and owing on the VF Loan, consisting of (a) unpaid
7

8    principal in the amount of $995,715.33, (b) unpaid contract interest owed as of
9
     December 10, 2020 in the amount of $23,260.16, and (c) unpaid default interest
10

11   from December 11, 2020 to February 8, 2021 in the amount of $34,244.59.
12         47.      The current per diem interest accrual on the VF Loan, calculated at
13
     the default rate of twenty-one percent (21%) per annum, is $580.83569.
14

15         48.      Rabo also is entitled to collect under the VF Loan Agreement all
16
     collection costs, including reasonable attorneys’ fees, from February 8, 2021 until
17

18   paid in full, in both the prosecution of the claims in this action and in protecting its
19   rights and interests in the Farms’ bankruptcy case.
20
                               FIRST CAUSE OF ACTION
21
                          (Contract and General Partner Liability
22                   Against Defendants Karen, Cody, and Debby Only)
23
           49.      Rabo incorporates and realleges the preceding paragraphs of this
24

25   complaint, as if fully set forth herein.

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           50.      Farms is a Washington general partnership. Karen, Cody and Debby

1    are all general partners of Farms.
2
           51.      The VF Loan is in default, as set forth above. The VF Loan has not
3

4    been paid.
5          52.      Farms and Cody, the co-borrowers under the VF Loan, are justly
6
     indebted to Rabo under the VF Loan Agreement in the amount of $1,053,244.59 as
7

8    of February 8, 2021, plus default interest from and after that date at the rate of
9
     twenty-one percent (21%) on the unpaid principal balance, plus all collection costs,
10

11   including reasonable attorneys’ fees, incurred by Rabo from February 8, 2021,
12   until paid in full, in both the prosecution of the claims in this action and in
13
     protecting its rights and interests in the Farms’ bankruptcy case.
14

15         53.      Rabo is entitled to judgment against Cody for breach of the VF Loan
16
     Agreement in the amount of $1,053,244.59 as of February 8, 2021, plus default
17

18   interest from and after that date at the rate of twenty-one percent (21%) on the
19   unpaid principal balance, plus all collection costs, including reasonable attorneys’
20
     fees, incurred by Rabo from February 8, 2021, until paid in full, in both the
21

22   prosecution of the claims in this action and in protecting its rights and interests in
23
     the Farms’ bankruptcy case.
24

25


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     Complaint-15                                                   A PROFESSIONAL LIMITED LIABILITY COMPANY
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           54.      Pursuant to RCW 25.05.125(1), and except for certain exceptions not

1    applicable here, “all partners are liable jointly and severally for all obligations of
2
     the partnership unless otherwise agreed by the claimant or provided by law.”
3

4          55.      Pursuant to RCW 25.05.125(1), Rabo is entitled to judgment against
5    Karen, Cody and Debby, jointly and severally, as general partners of Farms, and to
6
     the extent applicable, the marital communities referenced in paragraphs 5 – 10
7

8    above, in the amount of $1,053,244.59 as of February 8, 2021, plus default interest
9
     from and after that date at the rate of twenty-one percent (21%) on the unpaid
10

11   principal balance, plus all collection costs, including reasonable attorneys’ fees,
12   incurred by Rabo from February 8, 2021, until paid in full, in both the prosecution
13
     of the claims in this action and in protecting its rights and interests in the Farms’
14

15   bankruptcy case.
16
                               SECOND CAUSE OF ACTION
17               (Judicial Foreclosure of 2009 Mortgage and 2018 Mortgage
18                       Against 3E, Karen, Cody, Debby and Jody)
19         56.      Rabo incorporates and realleges the preceding paragraphs of this
20
     complaint, as if fully set forth herein.
21

22         57.      The record owners of the 2009 Mortgage Property are Defendants 3E,
23
     Karen (both individually and as personal representative for Gale), Cody, Debby
24

25   and Jody.

                                                                   DAVIDSON BACKMAN MEDEIROS
                                                                             ATTORNEYS AT LAW
     Complaint-16                                                     A PROFESSIONAL LIMITED LIABILITY COMPANY
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             58.    The record owner of the 2018 Mortgage Property is 3E.

1            59.    Pursuant to the Trustee’s Sale Guarantee, Guarantee No. 3695103,
2
     that Rabo has obtained on the 2009 Mortgage Property, there are no current
3

4    consensual or non-consensual liens against the 2009 Mortgage Property other than
5    the 2009 Mortgage and the statutory liens securing unpaid real property taxes. A
6
     true and correct copy of this Trustee’s Sale Guarantee is attached hereto as Exhibit
7

8    “E.”
9
             60.    Pursuant to the Trustee’s Sale Guarantee, Guarantee No. 3695204,
10

11   that Rabo has obtained on the 2018 Mortgage Property, there are no current
12   consensual or non-consensual liens against the 2018 Mortgage Property other than
13
     the 2018 Mortgage and the statutory liens securing unpaid real property taxes. A
14

15   true and correct copy of this Trustee’s Sale Guarantee is attached hereto as Exhibit
16
     “F.”
17

18           61.    By this action Rabo does not seek to foreclose any statutory liens
19   securing unpaid real property taxes, and acknowledges that any sale of the Property
20
     will be subject to those liens. Further, Rabo does not seek to foreclose any
21

22   easements, agreements or other encumbrances of record that were recorded prior to
23
     the recording of the 2009 Mortgage and the 2018 Mortgage respectively.
24

25


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     Complaint-17                                                   A PROFESSIONAL LIMITED LIABILITY COMPANY
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           62.      As noted above, the 2009 Mortgage and the 2018 Mortgage are

1    collectively referred to herein as the “Mortgages,” and the 2009 Mortgage Property
2
     and 2018 Mortgage Property are collectively referred to herein as the “Property.”
3

4          63.      The Mortgages secure repayment of the VF Loan, as further set forth
5    above.
6
           64.      The VF Loan is in default, and has not been paid.
7

8          65.      Rabo is entitled to judicially foreclosure the Mortgages against the
9
     Property under RCW 61.12 et seq. based upon the defaults under the VF Loan
10

11   Agreement and the failure of Farms and its general partners to pay and satisfy the
12   VF Loan in full.
13
                                    PRAYER FOR RELIEF
14

15         WHEREFORE, based upon the foregoing, Plaintiff Rabo AgriFinance LLC
16
     prays for the entry of judgment in its favor, and against the Defendants, as follows:
17

18         A.       ON ITS FIRST CAUSE OF ACTION, for a money judgment against
19   Defendants Karen, both individually, as the personal representative of the estate of
20
     Gale, and the marital community of Karen and Gale, Cody and Debby, each jointly
21

22   and severally, including their marital community, in the amount of $1,053,244.59
23
     as of February 8, 2021, plus default interest from and after that date at the rate of
24

25   twenty-one percent (21%) per annum on the unpaid principal balance, plus all

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     collection costs, including reasonable attorneys’ fees, incurred by Rabo from

1    February 8, 2021, until paid in full, in both the prosecution of the claims in this
2
     action and in protecting its rights and interests in the Farms’ bankruptcy case.
3

4           B.       ON ITS SECOND CAUSE OF ACTION, for the following relief:
5                    (1)   A judgment and decree adjudging and decreeing that the liens
6
     evidenced by the Mortgages are good and sufficient first and paramount liens upon
7

8    the Property which secure the repayment of all amounts owed under the VF Loan,
9
     and ordering that the Property (or such portions thereof as may be necessary) be
10

11   foreclosed and sold by the United States Marshall (or such other authorized law
12   enforcement officer as may be appropriate), according to laws and the practices of
13
     this Court, to satisfy the amounts which may be found herein to be due and owing
14

15   to Plaintiff;
16
                     (2)   For a judgment and decree adjudging and decreeing that
17

18   Defendants 3E, Karen (both individually and as personal representative for Gale),
19   Cody, Debby and Jody, and all persons claiming by, through or under them, or any
20
     of them, be forever barred and foreclosed of all right, title, claim or interest or
21

22   equity of redemption in and to the Property, and each and every part thereof, and
23
     that Plaintiff have a deficiency judgment against Defendants Karen, Cody and
24

25   Debby, each jointly and severally, including any marital communities of which

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     they are a part, for any deficiency remaining after due and property application of

1    the proceeds of sale as hereinabove stated;
2
                    (3)   For a judgment and decree adjudging and decreeing that as a
3

4    result of the foreclosure and sale of the Property, the rights of all Defendants and
5    any other persons claiming by, through or under them subsequent to the execution
6
     of the Mortgages be adjudged inferior and subordinate to Plaintiff’s mortgage liens
7

8    and be forever foreclosed except only for the statutory right of redemption allowed
9
     by law; and
10

11                  (4)   For a judgment and decree adjudging and decreeing that
12   Plaintiff may bid at the sale and that Plaintiff or any other party to this action may,
13
     upon producing satisfactory proof of interest, become a purchaser at said sale, that
14

15   following said sale the United States Marshall (or such other authorized law
16
     enforcement officer as may be appropriate), be ordered to execute and deliver a
17

18   certificate of sale as required by law, and that upon the expiration of the period of
19   redemption as prescribed by law that the said United States Marshall or other
20
     authorized law enforcement officer be ordered to execute and deliver a Marshall’s
21

22   Deed to the purchaser of the Property, and that the said purchaser be let into
23
     possession of said Property upon production of said Marshall’s Deed.
24

25


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                             EXHIBIT B




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 1                                                                                          EXECUTION VERSION

 2
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14        *Admitted Pro Hac Vice
15        Attorneys for the Chapter 11
          Debtors and Debtors in Possession
16                                UNITED STATES BANKRUPTCY COURT
17
                                  EASTERN DISTRICT OF WASHINGTON

18
      In re                                            Chapter 11

19    EASTERDAY RANCHES, INC., et al.                  Lead Case No. 21-00141-11
                                                       Jointly Administered
20                                     Debtors.1
                                                       STIPULATION BY AND BETWEEN
21
                                                       DEBTORS AND NON-DEBTOR
                                                       SELLERS REGARDING
22
                                                       COOPERATION WITH RESPECT TO
                                                       THE SALE OF DEBTOR AND NON-
23
                                                       DEBTOR ASSETS

24

25    1
          The Debtors along with their case numbers are as follows: Easterday Ranches, Inc.,
26        (21-00141) and Easterday Farms, a Washington general partnership (21-00176).
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27        COOPERATION AGREEMENT                        P ACHULSKI S TANG                      B USH K ORNFELD           LLP

28
          REGARDING SALE OF ASSETS –                   Z IEHL & J ONES LLP                            LAW OFFICES
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 1             Debtor Easterday Farms, a Washington General Partnership (“Farms”), Debtor
 2    Easterday Ranches, Inc., a Washington Corporation (“Ranches” and together with
 3
      Farms, the “Debtors”), Cody Easterday (“CE”), Karen Easterday (“KE”) (in her
 4
      individual capacity and as the representative of Gale Easterday,2), and Debby Easterday
 5
      (“DE” and together with CE and KE, the “Non-Debtor Sellers”,3 and collectively with
 6
      Farms and Ranches, the “Parties” and each a “Party”), by and through their undersigned
 7

 8    counsel of record, hereby enter into this stipulation (the “Stipulation”), pursuant to

 9    which the Parties stipulate and agree as follows:
10             WHEREAS, on February 1, 2021, Ranches filed a voluntary petition for relief
11    under chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) before
12
      the United States Bankruptcy Court for the Eastern District of Washington, Yakima
13
      Division (the “Bankruptcy Court”).
14
               WHEREAS, on February 8, 2021, Farms filed a voluntary petition for relief
15

16    under chapter 11 of the Bankruptcy Code.

17             WHEREAS, on February 16, 2021, the Office of the United States Trustee (the
18    “UST”) filed its notice of appointment of the Ranches Official Committee of Unsecured
19    Creditors, as amended [Docket Nos. 152, 154, and 155] (the “Ranches Committee”).
20             WHEREAS, on February 22, the UST filed its notice of appointment of the
21    Farms Official Committee of Unsecured Creditors, as amended [Docket Nos. 187, and
22    188] (the “Farms Committee” and, together with the Ranches Committee, the
23    “Committees”).
24

25    2
          Gale Easterday passed away on December 10, 2020.
      3
26        The Non-Debtor Sellers are also the general partners of Farms.
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27        COOPERATION AGREEMENT                        P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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 1            WHEREAS, on March 25, the Bankruptcy Court entered the (i) Final Order
 2    Authorizing Debtor Easterday Farms (the “Farms Cash Collateral Order” to Use Cash
 3    Collateral and Granting Adequate Protection [Dkt. No.471] and (ii) the Final Order
 4    Authorizing Debtor Easterday Ranches, Inc. (the “Ranches Cash Collateral Order,” and
 5    together with the Farms Cash Collateral Order, the “Final Cash Collateral Orders”) to
 6    use Cash Collateral and Granting Adequate Protection [Dkt. No 470], which provide in
 7    the Budget (as defined in the applicable Final Cash Collateral Order) for certain benefits
 8    for KE and DE and payments for KE and DE in the approximate monthly aggregate
 9    amount of $6,500.
10            WHEREAS, Farms and Ranches are the owners of certain real property
11    identified on Exhibit A hereto (the “Debtor Properties”).
12
              WHEREAS, certain of the Non-Debtor Sellers and the Debtors each own
13
      separate parcels of real property contained within the larger boundaries of the real
14
      property identified on Exhibit A hereto (the “Joint Properties”).
15

16            WHEREAS, the Non-Debtor Sellers own certain real property adjacent or

17    connected to the Debtor Properties or the Joint Properties identified on Exhibit A hereto
18    (the “Non-Debtor Properties” together with the Debtor Properties and the Joint
19    Properties, the “Sale Properties”).
20
              WHEREAS, the lenders identified on Exhibit A hereto assert mortgage liens
21
      with respect to the Sale Properties (the “Mortgagees”).
22
              WHEREAS, the Parties desire to maximize the value of the Sale Properties and
23

24    to pursue sales of the Sale Properties through a Bankruptcy Court approved process.

25            WHEREAS, there may be disputes, claims or other causes of action between and
26    among the Parties, or other estate representative, which, if pursued, could limit the
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27     COOPERATION AGREEMENT                           P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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 1    ability of the Parties to fully market and sell the Sale Properties and would potentially
 2    decrease the value of the Sale Properties.
 3
              WHEREAS, the Parties desire to pursue a process for the sale of the Sale
 4
      Properties, sell the Sale Properties, place all proceeds of sale after payment sufficient to
 5
      satisfy the Mortgagees into escrow pending final determination by the Bankruptcy
 6
      Court, and reserve all of their respective rights with respect to any claims relating to the
 7

 8    proceeds of the sale of any the Sale Properties.

 9            Based on the foregoing recitals, the Parties hereby stipulate and agree as
10    follows:
11          1.         Development of Bidding Procedures: The Debtors shall seek an order of
12    the Bankruptcy Court establishing bidding procedures (the “Bidding Procedures”)
13
      relating to the sale of the Sale Properties and such form of bidding procedures shall be
14

15    in form and substance reasonably acceptable to the Non-Debtor Sellers. The Non-
16    Debtor Sellers hereby further agree to the milestones relating to the Bidding Procedures
17
      as set forth on Exhibit B hereto.
18

19            2.       Entry into Sales Transactions.
20
                       a. The Bidding Procedures will establish a process for the Debtors to
21                        determine the highest and best offer for the Sale Properties (including
                          for individual Sale Properties or groups of Sale Properties) and for
22
                          entering into transactions for the sales with respect to the Sale
23                        Properties (each a “Sale Transaction”).
24                     b. To the extent that, pursuant to and in accordance with the Bidding
25                        Procedures, the Bankruptcy Court enters an order approving any Sales
                          Transaction, any of the Non-Debtor Sellers with an interest in such Sale
26                        Property or Sale Properties (each a “Selling Party”) hereby agrees to
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27     COOPERATION AGREEMENT                            P ACHULSKI S TANG                   B USH K ORNFELD           LLP

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 1                          cooperate with any such Sale Transaction, including but not limited to,
 2                          taking any action and entering into and executing any documentation
                            with respect to such Sale Transaction necessary to relinquish any
 3                          ownership rights in such Sale Property and to provide the buyer with
 4                          clean title to such Sale Property. Each Non-Debtor Seller hereby
                            consents to the jurisdiction of the Bankruptcy Court with respect to the
 5                          sale of the Non-Debtor Property and entry by the Bankruptcy Court of
 6                          any order approving the sale of such Non-Debtor Property, including
                            the sale of such Non-Debtor Property free and clear of any interests of
 7                          the Non-Debtor. For the avoidance of doubt, nothing herein shall
 8                          prejudice any other party’s right to contest the Bankruptcy Court’s
                            jurisdiction with respect to the sale of Non-Debtor Property. Each Non-
 9                          Debtor Seller shall also execute a power of attorney providing either or
10                          both of the Debtors’ Co-Chief Restructuring Officers (as the Debtors
                            shall deem appropriate) with authority to execute any and all
11                          agreements or other documents necessary for the sale and transfer of
12                          such Sale Property including, but not limited to grants, deeds, mortgage
                            reconveyances, or other documents of transfer necessary to effectuate
13                          any Sale Transaction on behalf of such Non-Debtor Seller.
14
                       c. The Non-Debtor Sellers shall retain the right to object to any proposed
15                        Sales Transaction, except that no such objection shall be based on any
                          argument that the Debtors lack authority or otherwise may not sell a
16
                          Sale Property, or with respect to the sale milestones set forth in Exhibit
17                        B, and any such objection and any such objection shall be resolved by
                          the Bankruptcy Court, and each Non-Debtor Seller agrees to be bound
18
                          by any resolution of the Bankruptcy Court of such objection and hereby
19                        waives any right to appeal such order of the Bankruptcy Court.
20
              3.       Distribution and Deposit of Sale Proceeds:
21

22                     a. Following the closing of any Sale Transaction, the proceeds of any such
                          Sales Transaction (the “Sale Proceeds”) shall be distributed as follows:
23
              First, to the applicable Mortgagee for such Sale Property in satisfaction of the
24
              obligations owed to such Mortgagee that are secured by the applicable mortgage
25            (the “Mortgagee Amounts”), provided however, that to the extent that any party
26
              has filed a challenge (a “Mortgage Challenge”) with respect to the amount,
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 1            validity, perfection or priority of any lien asserted by a Mortgagee prior to the
 2            closing of the applicable Sales Transaction, then the undisputed portion (if any)
              of the Mortgagee Amounts shall be distributed to the Mortgagee, and the disputed
 3            portion of the Mortgagee Amounts with respect to such Mortgagee shall be
 4            placed in an escrow account (on terms and conditions reasonably agreed by the
              Debtors and such Mortgagee) pending a final order of the Bankruptcy Court with
 5            respect to such Mortgage Challenge; provided, further, there can be no
 6            bankruptcy-related Mortgage Challenge with respect to any Non-Debtor Seller
              Property by any Non-Debtor Seller and any such challenges are limited to
 7            remedies, if any, available under applicable non-bankruptcy law. For the
 8            avoidance of doubt, nothing in this Stipulation shall limit or expand the rights of
              the Debtors and their estates with respect to any claims relating to Non-Debtor
 9            Seller Property nor shall it grant standing to assert a Mortgage Challenge to any
10            party that does not have standing to do so pursuant to applicable law. Any
              payments made by the Debtors to the Mortgagees in accordance with the
11            Allocation Protocol or applicable final order of the Bankruptcy Court shall be
12            final and not subject to disgorgement by the Debtors, their estates or any
              successors or assigns thereto, including any trustee.
13
              Second, to the applicable party for the payment of transaction costs (the
14
              “Transaction Costs”) relating to such Sale Transaction (including, but not limited
15            to, commissions, break-up fees, costs and expenses) approved by the Bankruptcy
              Court as part of the Bid Procedures or in conjunction with the Sale Transaction;
16

17            and
18            Third, any remaining Sale Proceeds after funding the Transaction Costs and
              Mortgagee Amounts (the “Net Sale Proceeds”), shall be deposited in an escrow
19
              account pursuant to an escrow agreement, the terms of which shall be negotiated
20            and agreed by all the Parties, in each case acting reasonably (the “Escrow
21
              Account”).

22                     b. In no case shall there be any distribution from the Escrow Account in
                          advance of either (A) an order of the Bankruptcy Court approving a
23                        stipulation of all of the Selling Parties relating to the allocation and
24                        distribution of the Sale Proceeds, which shall be brought by motion on
                          no less than 14 days’ notice, unless the Committees, the Mortgagees
25                        and Enjoined Parties agree to a shorter notice period or (B) an order of
26
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27     COOPERATION AGREEMENT                           P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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 1                          the Bankruptcy Court following a motion on no less than 14 days’
 2                          notice and hearing regarding allocation of the Net Sale Proceeds.

 3            4.       Development of       Allocation Protocol: The Parties shall, as soon as
 4
      reasonably practicable following the execution of this Stipulation, negotiate in good
 5
      faith and attempt to reach agreement on a timely basis on a protocol for resolving
 6

 7    disputes concerning the allocation of Net Sale Proceeds from Sale Transactions (the
 8
      “Allocation Protocol”), which Allocation Protocol shall provide procedures for
 9
      determining allocation of Net Sales Proceeds where the Selling Parties in such Sale
10

11    Transaction have been unable to reach agreement regarding such allocation with any
12
      allocation determination being subject to approval by the Bankruptcy Court. The
13
      Debtors will include the Committees, the Mortgagees and the Enjoined Parties in the
14

15    negotiations regarding the Allocation Protocol but the consent of those parties shall not
16
      be required for the Debtors’ agreement with the Non-Debtor Sellers with respect to any
17
      Allocation Protocol, provided further, that any Allocation Protocol shall be subject to
18

19    approval by the Bankruptcy Court upon notice and hearing, and the rights of the Parties,
20
      the Debtors, the Committees, the Mortgagees and the Enjoined Parties shall all be
21

22
      reserved with respect to any proposed Allocation Protocol. The Parties agree that the

23    Allocation Protocol will provide a mechanism for the participation of the Committees,
24
      the Enjoined Parties and the Mortgagees with respect to any negotiations concerning
25

26    allocation of the Net Sale Proceeds. The Parties further agree that the Allocation
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27     COOPERATION AGREEMENT                           P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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 1    Protocol will provide, among other things, any adjudication of the allocation of Net Sale
 2
      Proceeds will be made exclusively by the Bankruptcy Court and each Non-Debtor Seller
 3

 4    agrees to be bound by the Bankruptcy Court’s order resolving the allocation dispute.

 5    Unless this Stipulation is otherwise terminated in accordance with its terms, to the
 6
      extent a distribution is made to the Non-Debtor Sellers in accordance with the
 7

 8    Allocation Protocol such funds shall be placed in a separate escrow account subject in

 9    all respects to further order of the Bankruptcy Court. Nothing in this section 4
10
      prejudices any parties’ rights with respect to the Allocation Protocol nor constitutes
11

12    court approval of any such protocol.
13            5.       Maintenance of Properties Pending Sale. Pending the sale of any of the
14
      Sale Properties, the Party or Parties currently responsible for the maintenance of such
15

16    Sale Property, including payment of any taxes, insurance or other expenses relating to
17    such Property shall remain responsible for the maintenance of such Sale Property in the
18
      same manner and proportion as prior to execution of this Stipulation.
19
20            6.       Entry Into Stipulation is Without Prejudice.
21                     a. Nothing in this Stipulation shall prejudice the rights of any Party or
22                        otherwise constitute an amendment, modification or waiver of the
                          rights of any Party to assert such party’s interests in the Net Sale
23                        Proceeds from any Sale Transaction (other than provisions with respect
24                        to the Allocation Protocol through which Non-Debtor Sellers agree to
                          be bound by the Bankruptcy Court’s ruling with respect to allocation of
25
                          Net Sale Proceeds).
26
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 1                     b. Nothing in this Stipulation shall prejudice or impair the rights of any
 2                        Party with respect to any claim or cause of action against any other
                          Party or the defenses and/or counterclaims of any Party with respect
 3                        thereto.
 4
                       c. Nothing in this Stipulation shall prejudice or impair the rights of any
 5                        Mortgagees and any valid and properly perfected liens of any
                          Mortgagee in any of the Sale Properties. Any such liens shall attach to
 6
                          the Sale Proceeds relating to the sale of such Sale Property with the
 7                        same validity and priority as of the date of such Sale Transaction,
                          provided, however, nothing in this Stipulation shall prejudice the rights
 8
                          of any Party to challenge the validity, perfection or priority of any lien
 9                        asserted by a Mortgagee and any and all defenses of such Mortgagee
                          are also reserved.
10

11                     d. Nothing in this Stipulation shall prejudice or impair the rights of any
                          Enjoined Party with respect to any valid and properly perfected liens
12                        (including Adequate Protection Liens, as defined in the Final Cash
13                        Collateral Orders), claims, rights, interests, and encumbrances in any of
                          the Sale Properties or personal property, if any, included in the sale of
14                        the Sale Properties. Any such liens, claims, rights, interests, and
15                        encumbrances shall attach to the Sale Proceeds relating to the sale of
                          such Sale Properties or personal property in the same order of priority,
16                        with the same validity, force and effect as of the date of such Sale
17                        Transaction, provided, however, nothing in this Stipulation shall
                          prejudice the rights, if any, of the Debtors, the Non-Debtor Sellers or
18                        the Committees to challenge the validity, perfection or order of priority
19                        of any lien asserted by any Enjoined Party and any and all defenses of
                          any Enjoined Party are also reserved.
20

21
              7.       Non-Debtor Sellers Not to Transfer Assets. The Non-Debtor Sellers

22    hereby agree that for so long as this Stipulation is in effect, the Non-Debtor Sellers shall
23
      not transfer or otherwise lease or encumber any of the Sale Properties except as
24

25
      expressly provided in Section 2 hereof. The Non-Debtor Sellers further hereby agree

26    that for so long as this Stipulation is in effect, the Non-Debtor Sellers shall not, without
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27     COOPERATION AGREEMENT                           P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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 1    the prior-written consent, which consent will not be unreasonably withheld, of the
 2
      Debtors, transfer or otherwise lease or encumber any of their other material assets or
 3

 4    properties (for purposes of this Section 7, “material” shall mean any individual assets

 5    or properties having a fair market value equal to or greater than $37,500.00, outside of
 6
      the ordinary course of business (a “Non-Debtor Seller Transaction”), provided further
 7

 8    that the aggregate amount of such Non-Debtor Seller Transactions may not exceed

 9    $100,000 with respect to each Non-Debtor Seller, provided however, that the Debtors
10
      their estates are hereby deemed as part of this Stipulation to agree that the transactions
11

12    described in Exhibit C hereto are not breaches of this Stipulation. Except with respect
13    to the transactions identified in Exhibit C hereto which shall be deemed permitted upon
14
      entry by the Bankruptcy Court of an order approving this Stipulation (and which, for
15

16    the avoidance of doubt shall not be included in calculation of the aggregate limit with
17    respect to Non-Debtor Seller Transactions), the Debtors shall provide five (5) business
18
      days’ written notice (including via electronic mail) to the Committees, the Enjoined
19
20    Parties and the Mortgagees of the Debtors’ consent to any additional Non-Debtor Seller
21    Transaction and any parties receiving such notice shall have five (5) business days to
22
      indicate in writing (including via electronic mail) to the Debtors that such party objects
23

24    to any such Non-Debtor Seller Transaction. If the Debtors are unable to resolve such
25
      objection, then the Debtors shall seek Bankruptcy Court approval with respect to the
26
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 1    Debtors’ consent to such Non-Debtor Seller Transaction and the rights of all parties
 2
      with respect to any such proposed Non-Debtor Seller Transaction are reserved, provided
 3

 4    further, that the failure to obtain Bankruptcy Court approval for such proposed Non-

 5    Debtor Seller Transaction shall not be a default under this Stipulation if the Debtors
 6
      sought approval, where appropriate, but such approval was denied by the Bankruptcy
 7

 8    Court for such proposed Non-Debtor Seller Transaction. If such request for consent is

 9    denied, it shall be a breach of this Stipulation for any Non-Debtor Seller to engage in
10
      such Non-Debtor Seller Transaction. Any breach of this Section 7 by any Non-Debtor
11

12    Seller shall be a basis for termination of any injunction against such breaching Non-
13    Debtor Seller provided for in Section 8 hereof, provided, however, all of the obligations
14
      of each of the Non-Debtor Sellers under this Stipulation shall continue in full force and
15

16    effect notwithstanding such termination of the injunction against such breaching Non-
17    Debtor Seller. To the extent any Non-Debtor Seller disposes of any personal property,
18
      except as provided above, that is subject to the lien of an Enjoined Party while this
19
20    Stipulation is in effect, the Enjoined Party’s lien shall attach to the proceeds of such sale
21    and the Non-Debtor Seller shall place those proceeds into an escrow account (on terms
22
      and conditions reasonably agreed by the Non-Debtor Sellers and the Enjoined Parties
23

24    asserting liens in the related assets).
25

26
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27     COOPERATION AGREEMENT                           P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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 1            8.       Injunction Regarding Property and Assets of Non-Debtor Sellers. In
 2
      exchange for the cooperation of the Non-Debtor Sellers with respect to the sale of the
 3

 4    Sale Properties through these Bankruptcy Cases as contemplated herein, and as a

 5    condition to the effectiveness of this Stipulation, the Debtors shall (i) obtain, either
 6
      through stipulation4 with the parties identified on Exhibit D hereto (along with any
 7

 8    successors-in-interest or assignees, the “Enjoined Parties”), or (ii) an order of the

 9    Bankruptcy Court with respect to the Enjoined Parties, an agreement or injunction,
10
      respectively, prohibiting the Enjoined Parties from taking the following actions (the
11

12    “Enjoined Actions”) with respect to assets or property of any of the Non-Debtor Sellers
13    pursuant to Sections 362 and 105 of the Bankruptcy Code, including, but not limited to:
14
                       a. the commencement or continuation, including the issuance or
15                        employment of process, of a judicial, administrative, or other action or
16                        proceeding against any Non-Debtor Sellers;
17                     b. the enforcement, against any Non-Debtor Sellers of any judgment
                          obtained against such Non-Debtors Seller;
18

19                     c. any act to obtain possession of property of any of the Non-Debtor
                          Sellers or to exercise control over property of any Non-Debtor Sellers;
20

21
                       d. any act to create, perfect, or enforce any lien against property of the any
                          Non-Debtor Sellers;
22
                       e. any act to collect, assess, or recover a claim against any Non-Debtor
23                        Sellers;
24

25
      4
       Attached as Exhibit E hereto is a form of consent for each Enjoined Party with
26    respect to the injunction set forth in this Section 8.
      DOCS_NY:43062.1 20375/001
27        COOPERATION AGREEMENT                        P ACHULSKI S TANG                    B USH K ORNFELD           LLP

28
          REGARDING SALE OF ASSETS –                   Z IEHL & J ONES LLP                          LAW OFFICES
                                                                                               601 Union St., Suite 5000
          Page 12                                     10100 Santa Monica Blvd., 13th Flr.   Seattle, Washington 98101-2373
                                                         Los Angeles, CA 90067-4003            Telephone (206) 292-2110
                                                          Telephone (310) 277-6910             Facsimile (206) 292-2104
                                                           Facsimile (310) 201-0760


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 1    provided further, that the Debtors will use reasonable efforts to obtain a similar
 2
      stipulation or injunction against any other party that seeks to take any Enjoined Action
 3

 4    with respect to the property or assets of any Non-Debtor Sellers, or, the Debtors may

 5    seek an injunction that more broadly protects the Non-Debtor Sellers with respect to
 6
      actions by their creditors, and the Debtors’ failure to obtain such injunction, including
 7

 8    the denial of a request for such an injunction by the Bankruptcy Court, shall be a breach

 9    of this Stipulation and, on written notice to the Debtors (including via electronic mail),
10
      the Non-Debtor Sellers may terminate their continued performance hereunder. In
11

12    addition, if the Debtors fail to seek or obtain an injunction against a party that seeks to
13    take an Enjoined Action to the property or assets of any Non-Debtor Sellers, any
14
      Enjoined Party with an interest in such property or assets of such Non-Debtor Sellers,
15

16    may, on five (5) business days’ notice, seek an order from the Court terminating the
17    injunction against such Enjoined Party with respect to such property or assets of the
18
      Non-Debtor Sellers, provided, further, the rights of the Parties with respect to any such
19
20    request are reserved. Notwithstanding the above, such injunction shall not prohibit the
21    Debtors or the Committees from seeking reasonable informal or formal discovery in the
22
      Bankruptcy Cases pursuant to Bankruptcy Rule 2004 with respect to any Non-Debtor
23

24    Sellers subject to the rights of such Non-Debtor Sellers to object to such discovery.
25
      The Enjoined Parties and the Mortgagees shall have the right to receive promptly any
26
      DOCS_NY:43062.1 20375/001
27     COOPERATION AGREEMENT                           P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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                                                           Facsimile (310) 201-0760


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 1    written discovery and attend any depositions in connection with any discovery
 2
      conducted by the Debtors or the Committees. To the extent that any Enjoined Party or
 3

 4    Mortgagee believes additional discovery is necessary or appropriate, nothing in this

 5    Stipulation shall prohibit such Enjoined Party or Mortgagee from filing a motion before
 6
      the Bankruptcy Court seeking discovery relating only to an analysis of the assets and
 7

 8    liabilities of the Non-Debtor Sellers and the rights of all Parties with respect to any such

 9    motion or discovery requests are expressly reserved. Notwithstanding the foregoing,
10
      nothing in this Stipulation will prevent any party from filing a claim in the probate
11

12    proceedings regarding the estate of Gale Easterday. Additionally, notwithstanding the
13    above, nothing herein shall prevent the Committees from filing motions seeking
14
      standing to bring derivative actions against any of the Non-Debtor Sellers or filing
15

16    objections to claims of any Non-Debtor Sellers, provided, further, that all rights of the
17    Parties are reserved with respect to such standing motion or objections to claims, and,
18
      provided, further, that if any such motion for standing is granted, or any objection to
19
20    any such claim is permitted to go forward, including requiring a response by any Non-
21    Debtor Seller, prior to the termination of this Stipulation, then this Stipulation shall be
22
      deemed terminated and no Party, including any Enjoined Party, shall have any further
23

24    obligation hereunder. The Debtors agree to oppose any such motion for standing and
25
      to seek to adjourn any proceedings with respect to such objection to claim, and any
26
      DOCS_NY:43062.1 20375/001
27     COOPERATION AGREEMENT                           P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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 1    failure timely to do so or failure to be successful in such opposition or in obtaining such
 2
      adjournment to be successful shall be a breach by the Debtors of this Stipulation and
 3

 4    shall entitle the Non-Debtor Sellers to terminate this Stipulation and cease their

 5    performance hereunder.
 6
              9.       Financial Information of Non-Debtor Sellers. It shall be a condition to
 7

 8    entry into this Stipulation that each of the Non-Debtor Sellers shall provide the Debtors,

 9    the Committees, the Enjoined Parties and the Mortgagees with a statement of personal
10
      assets and liabilities and other financial information reasonably requested by the
11

12    Debtors and the Committees within five (5) days from the entry of an order approving
13    this Stipulation.
14
              10.      Representation and Warranty Regarding Estate of Gale Easterday. Karen
15

16    Easterday hereby represents and warrants that she is the sole legal representative of the
17    estate of Gale Easterday and has the power and authority to execute this Stipulation and
18
      to perform all of the acts required hereunder, including, but not limited to, selling the
19
20    interests of Gale Easterday in any of the Non-Debtor Seller Properties.
21            11.      Waiver of Default. The Debtors shall provide notice to the Non-Debtor
22
      Sellers, the Committees, the Mortgagees and the Enjoined Parties of any default by any
23

24    Non-Debtor Seller hereunder. The Debtors shall further provide five (5) business days’
25
      notice to the Non-Debtor Sellers, the Committees, the Mortgagees and the Enjoined
26
      DOCS_NY:43062.1 20375/001
27     COOPERATION AGREEMENT                           P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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                                                           Facsimile (310) 201-0760


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 1    Parties of any determination by the Debtors to waive any such default. Any of the
 2
      Committees, the Mortgagees and Enjoined Parties may challenge the waiver of such
 3

 4    default and the rights of all Parties with respect to any such challenge are reserved. This

 5    Stipulation shall remain in full force and effect notwithstanding such waived default
 6
      unless the Debtors agree in writing or there is an order of the Bankruptcy Court denying
 7

 8    the ability of the Debtors to waive such default.

 9            12.      Participation of Committees. Farms and Ranches hereby agree that with
10
      respect to any of the matters referred to herein as to which the agreement or
11

12    determination of either of the Debtors are required, such Debtor shall include both of
13    the Committees in any negotiations on such issues.
14
              13.      Term of Agreement. This Stipulation will terminate upon the earlier of (i)
15

16    the effective date of any confirmed plan of reorganization or liquidation in the
17    Bankruptcy Cases, (ii) August 31, 2021 if no Sale Transaction is approved by the
18
      Bankruptcy Court prior to such date, or (ii) December 31, 2021. If there is a material
19
20    adverse change with respect to the treatment of KE and DE pursuant to the Final Cash
21    Collateral Orders, then KE and DE may, on written notice to the Debtors and the
22
      Enjoined Parties (including via electronic mail), terminate their continued performance
23

24    hereunder, provided that such performance shall continue with respect to any Sale
25

26
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27     COOPERATION AGREEMENT                           P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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 1    Transaction that has been approved by the Bankruptcy Court prior to the provision of
 2
      such notice of termination.
 3

 4            14.      Immediate Effect of this Stipulation Upon the Court’s Approval.

 5    Notwithstanding anything to the contrary in the Bankruptcy Code, the Federal Rules of
 6
      Bankruptcy Procedure, of the Local Bankruptcy Rules, the effectiveness of this
 7

 8    Stipulation shall not be stayed in any respect. The Stipulation shall be effective

 9    immediately upon entry.
10
              15.      Binding Effect. This Stipulation is binding upon the Parties, their
11

12    successors, assigns, affiliates, officers, directors, shareholders, partners, investors,
13    members, employees, agents, and professionals.
14
              16.      Jurisdiction. The court shall retain sole and exclusive jurisdiction to hear
15

16    and determine all matters arising from or relating to the interpretation and/or
17    enforcement of this Stipulation.
18
              17.      Notice. Any notice to be given under this stipulation may be given by
19
20    electronic mail at counsel for the applicable party at the address for notice as provided
21    in Exhibit F hereto.
22

23

24

25

26
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27     COOPERATION AGREEMENT                           P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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                                                           Facsimile (310) 201-0760


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 1

 2

 3            IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD
 4

 5    DATED April 28, 2021.                 BUSH KORNFELD LLP
 6                                          /s/ Thomas Buford
                                            THOMAS A. BUFORD, III (WSBA 52969)
 7
                                            BUSH KORNFELD LLP
 8
                                            RICHARD M. PACHULSKI (Admitted Pro Hac
 9                                          Vice)
10                                          JEFFREY W. DULBERG (Admitted Pro Hac Vice)
                                            MAXIM B. LITVAK (Admitted Pro Hac Vice)
11                                          PACHULSKI STANG ZIEHL & JONES LLP
12                                          Attorneys for Debtors and Debtors in Possession
13

14    DATED April 28, 2021.                 SUSSMAN SHANK LLP
15
                                            /s/ Jeffrey Misley
16
                                            JEFFREY C. MISLEY (WSBA 850674)
17                                          SUSSMAN SHANK LLP
18
                                            Attorneys for Cody and Debby Easterday
19
20
      DATED April 28, 2021. TONKON TORP LLP
21

22                                          /s/ Timothy Conway
                                            TIMOTHY J. CONWAY (WSBA 52204)
23
                                            TONKON TORP LLP
24

25
                                            Attorney for Karen Easterday, individually and as
                                            personal representative of the probate estate of Gale
26                                          Easterday
      DOCS_NY:43062.1 20375/001
27     COOPERATION AGREEMENT                           P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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 1
                                                    EXHBIT A
 2
                                                Sale Properties
 3
      Debtor Properties
 4
       Property                          Owners                                    Mortgagees
 5
       Nine Canyon Farms                 Ranches                                   Prudential Insurance
 6                                                                                 Company of America
                                                                                   (“Prudential”)
 7
       Storage Complex                   Farms                                     LTM Investments LLC
 8

 9
      Joint Properties
10
       Property                        Owners                                       Mortgagees
11
       Cox Farm                        Ranches, Farms,                              Equitable Financial Life
12                                     Non-Debtor Sellers                           Insurance Company f/k/a
                                                                                    AXA Equitable Life
13                                                                                  Insurance Company
14     River Farm                      Farms, Non-Debtor Sellers                    Prudential
15
      Non-Debtor Properties
16
       Property                        Owners                                       Mortgagees
17

18     Goose Gap Farm                  Non-Debtor Sellers                           Prudential
19
20

21

22

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26
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27     COOPERATION AGREEMENT                            P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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 1
                                                EXHIBIT B
 2
                                   SALE PROCEDURES MILESTONES5
 3

 4
                  Event                                             Proposed Deadlines
 5

 6
                  Deadline to File Notice of Intent to              May 5, 2021
                  Assume and Assign Transferred
 7                Contracts and Proposed Cure Amounts
 8                Hearing on any Stalking Horse or Bid              Eight (8) days after the
 9                Protections Objections (if any) or,               Stalking Horse Bidder
                  alternatively, to set dates and deadlines         Motion or No Stalking
10                for a naked auction process (subject to           Horse Notice, as applicable,
11                Court availability)                               is filed
12                Deadline to File Objections to                    May 17, 2021
13                Proposed Cure Amounts

14                Deadline to File and Serve Sale Notice            Four (4) days after entry of
                                                                    the Stalking Horse
15
                                                                    Approval Order
16
                  Deadline to Submit Bids                           May 31, 2021 at 4:00 p.m.
17                                                                  (Pacific Time)
18
                  Survey Contingency Waiver Deadline                June 8, 2021 at 5:00 p.m.
19                                                                  (Pacific Time)
20                Deadline for Debtors to Notify Bidders June 10, 2021, at 5:00 p.m.
21                of Status as Qualified Bidders         (Pacific Time)

22                Auction (if necessary)                            June 14, 2021,
                                                                    at 10:00 a.m. (Pacific Time)
23

24

25
             The Proposed Deadlines remain subject to approval of the Bankruptcy Court in
              5

26    connection with the Bidding Procedures Motion.
      DOCS_NY:43062.1 20375/001
27     COOPERATION AGREEMENT                           P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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 1
                 Event                                              Proposed Deadlines
 2
                 Deadline to File Notice of (a)        One day following
 3               Successful Bid and Backup Bid and (b) conclusion of the Auction
 4               Identity of Successful Bidder and
                 Backup Bidder
 5

 6
                 Deadline to File (a) Objections to Sale            [●], 2021 at 4:00 p.m.
                 and (b) Objections to Assumption and               (Pacific Time)
 7               Assignment of Contracts
 8               Reply Deadline                                     [●], 2021 at 4:00 p.m.
 9                                                                  (Pacific Time)
10               Sale Hearing Date                                  [●], 2021 at 4:00 p.m.
11
                                                                    (Pacific Time)

12

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27     COOPERATION AGREEMENT                           P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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 1
                                                EXHIBIT C
 2
                      APPROVED NON-DEBTOR SELLER TRANSACTIONS
 3

 4
      The encumbrance of certain property and assets of the entities described below (certain
 5
      of the Non-Debtor Sellers hold ownership interests in these entities) in connection with
 6

 7    the transactions (the “Lindsay Canyon Transactions”) contemplated pursuant to that

 8    Binding Term Sheet or final terms approved at the hearing thereon (the “Term Sheet”)1
 9    by and among (i) Farms, (ii) Ranches, (iii) Canyon Farm, LLC and Canyon Farm II,
10    LLC (“Canyon Farm”), (iv) 3C Farms, LLC (“3C Farms”), and (v) Easterday Farms
11
      Dairy, LLC (“Dairy”), including, but not limited to, pledge or guaranty of any of the
12
      property or interests of 3E Properties, 3C Farms, Easterday Farm Produce, Co., and
13
      Dairy as collateral to secure financing related to the entry of 3C Farms and Dairy into
14

15    the Lindsay Canyon Transactions. For the avoidance of doubt, the property or assets to

16    be pledged are the assets of the separate corporate entities in which Non-Debtor Sellers
17    hold equity or other ownership interests and are not assets or property owned directly
18    by any Non-Debtor Seller, and Debtors are including their consents to the transactions
19
      of these entities in connection with the Lindsay Canyon Transactions for purposes of
20
      full disclosure and out of an abundance of caution in light of Debtors’ role in the Lindsay
21
      Canyon Transactions.
22

23

24    1
       The Term Sheet was filed with the Bankruptcy Court as part of the Emergency
      Motion For An Order Approving (I) Lindsay Canyon Binding Term Sheet And
25    Authorizing Entry Into Definitive Documentation; (II) Scheduling Hearing To
      Approve Entry Into Dip Financing Loan; And (III) Granting Related Relief [Dkt. No.
26    465]
      DOCS_NY:43062.1 20375/001
27        COOPERATION AGREEMENT                        P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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 1    .
 2

 3

 4    Any disposition by CE and DE of their ownership interests in Easterday Farms Dairy,

 5    LLC.
 6

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27        COOPERATION AGREEMENT                        P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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 1
                                                      EXHIBIT D
 2
                                              ENJOINED PARTIES7
 3

 4
      Washington Trust Bank

 5
      Tyson Fresh Meats, Inc.

 6
      Prudential Insurance Company of America

 7
      Deere & Company d/b/a John Deere Financial

 8
      Rabo Agrifinance LLC

 9
      CHS Capital, LLC

10

11

12

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24
              7
                The parties identified on this Exhibit D have asserted or threatened to assert claims or take action
25    seeking to enforce rights against one or more of the Non-Debtor Sellers. As noted in paragraph 8 of the
      Stipulation, Debtors reserve the right to seek to enjoin any other party asserting claims or seeking to enforce
26    rights against any of the Non-Debtor Sellers.
      DOCS_NY:43062.1 20375/001
27     COOPERATION AGREEMENT                                  P ACHULSKI S TANG                   B USH K ORNFELD           LLP

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 1                                              EXHIBIT E
 2                                FORM OF CONSENT TO INJUNCTION
 3

 4
          ARMAND J. KORNFELD (WSBA #17214)                       HONORABLE WHITMAN L.
 5        THOMAS A. BUFORD (WSBA #52969)                         HOLT
          RICHARD B. KEETON (WSBA #51537)
 6        BUSH KORNFELD LLP
          601 Union Street, Suite 5000
 7        Seattle, WA 98101
          Tel.: (206) 292-2110
 8        Facsimile: (206) 292-2104
          Emails: jkornfeld@bskd.com,
 9        tbuford@bskd.com, and rkeeton@bskd.com
10        RICHARD M. PACHULSKI (CA Bar #90073)*
          JEFFREY W. DULBERG (CA Bar #181200)*
11        JASON H. ROSELL (CA Bar #269126)*
          PACHULSKI STANG ZIEHL & JONES LLP
12        10100 Santa Monica Blvd., 13th Floor
          Los Angeles, CA 90067-4003
13        Tel: (310) 277-6910
          Facsimile: (310) 201-0760
14        Emails: rpachulski@pszjlaw.com,
          jdulberg@pszjlaw.com, and
15        jrosell@pszjlaw.com
16        *Admitted Pro Hac Vice
17        Attorneys for the Chapter 11
          Debtors and Debtors in Possession
18                                UNITED STATES BANKRUPTCY COURT
19
                                  EASTERN DISTRICT OF WASHINGTON

20
      In re                                            Chapter 11

21    EASTERDAY RANCHES, INC., et al.                  Lead Case No. 21-00141-11
                                                       Jointly Administered
22                                     Debtors.8
                                                       CONSENT TO INJUNCTION
23
                                                       RELATING TO NON-DEBTOR
                                                       SELLERS IN CONNECTION WITH
24
                                                       COOPERATION AGREEMENT

25    8
          The Debtors along with their case numbers are as follows: Easterday Ranches, Inc.,
26        (21-00141) and Easterday Farms, a Washington general partnership (21-00176).
      DOCS_NY:43062.1 20375/001
27        CONSENT TO INJUNCTION – Page 2               P ACHULSKI S TANG                    B USH K ORNFELD           LLP
                                                                                                    LAW OFFICES
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 1

 2            WHEREAS, Debtor Easterday Farms, a Washington General Partnership
 3    (“Farms”), Debtor Easterday Ranches, Inc., a Washington Corporation (“Ranches” and
 4
      together with Farms, the “Debtors”), Cody Easterday (“CE”), Karen Easterday (“KE”)
 5
      (in her individual capacity and as the representative of Gale Easterday,9), and Debby
 6
      Easterday (“DE” and together with CE and KE, the “Non-Debtor Sellers”), entered into
 7

 8
      that certain Stipulation By and Between Debtors and Non-Debtor Sellers Regarding

 9    Cooperation with Respect to the Sale of Debtor and Non-Debtor Assets (the
10    “Cooperation Agreement”).10
11            WHEREAS, on February 1, 2021, Ranches filed a voluntary petition for relief
12
      under chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) before
13
      the United States Bankruptcy Court for the Eastern District of Washington, Yakima
14
      Division (the “Bankruptcy Court”).
15

16
              WHEREAS, on February 8, 2021, Farms filed a voluntary petition for relief

17    under chapter 11 of the Bankruptcy Code.
18            WHEREAS, on April 28, 2021, the Bankruptcy Court entered an order
19    approving the Debtors’ entry into the Cooperation Agreement [Docket No. ____].
20            WHEREAS, pursuant to the terms of the Cooperation Agreement, the Debtors
21    are required to enter into a stipulation or otherwise obtain an injunction with respect to
22    any party taking action to enforce rights or remedies against property or assets of the
23    Non-Debtor Sellers.
24    9
       Gale Easterday passed away on December 10, 2020.
      10
25      A copy of the Cooperation Agreement is attached hereto as Exhibit A. Capitalized
      Terms used and not otherwise defined herein have the meaning ascribed thereto in the
26    Cooperation Agreement.
      DOCS_NY:43062.1 20375/001
27        CONSENT TO INJUNCTION – Page 3               P ACHULSKI S TANG                    B USH K ORNFELD           LLP
                                                                                                    LAW OFFICES
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 1            WHEREAS [Name of Party] (the “Enjoined Party”) asserts interests in the
 2    property or assets of the Non-Debtor Sellers.
 3            WHEREAS, the Enjoined Party has reviewed the terms and conditions of the
 4    Cooperation Agreement.
 5            WHEREAS, in an effort to maximize the value of the Sale Properties, the
 6    Enjoined Party is willing to consent to certain provisions of the Cooperation Agreement
 7    on the terms and conditions set forth herein and in the Cooperation Agreement.
 8            Based on the foregoing recitals, the Parties hereby stipulate and agree as
 9    follows:
10          1.         Consent to Injunction.       Subject to the terms and conditions of the
11
      Cooperation Agreement, the Enjoined Party consents to be bound by the terms of the
12
      injunction set forth in the “Injunction Regarding Property and Assets of Non-Debtor
13

14    Sellers” section of the Cooperation Agreement. For the avoidance of doubt, this
15
      injunction will terminate upon the termination of the Cooperation Agreement or as such
16
      injunction may otherwise be terminated pursuant to the terms of the Cooperation
17

18    Agreement.
19
              2.       Entry Into this Consent is Without Prejudice.
20

21
                   a. Except for the consent to injunction set forth in section 1 above, nothing
                      in this Consent shall prejudice or impair the rights of the Enjoined Party
22                    with respect to any claim or cause of action against any of the Non-Debtor
23
                      Sellers or the Debtors, including, without limitation, the right of the
                      Enjoined Party to move under 28 U.S.C. § 157 to withdraw the reference
24                    following termination of the injunction.
25                 b. Nothing in this Consent shall prejudice or impair the rights of the Enjoined
26                    Party with respect to any valid and properly perfected liens (including
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27     CONSENT TO INJUNCTION – Page 4                  P ACHULSKI S TANG                    B USH K ORNFELD           LLP
                                                                                                    LAW OFFICES
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 1                     Adequate Protection Liens, as defined in the Final Cash Collateral Orders),
 2                     claims, rights, interests, and encumbrances in any of the Sale Properties or
                       personal property, if any, included in the sale of the Sale Properties. Any
 3                     such liens, claims, rights, interests, and encumbrances shall attach to the
 4                     Sale Proceeds relating to the sale of such Sale Properties or personal
                       property in the same order of priority, with the same validity, force and
 5                     effect as of the date of such Sale Transaction, provided, however, nothing
 6                     in this Stipulation shall prejudice the rights, if any, of the Debtors, the Non-
                       Debtor Sellers or the Committees to challenge the validity, perfection or
 7                     order of priority of any lien asserted by any party and any and all defenses
 8                     of the Enjoined Party are also reserved.

 9            3.       Binding Effect. This Consent is binding upon the Enjoined Party, its
10
      successors, assigns, affiliates, officers, directors, shareholders, partners, investors,
11
      members, employees, agents, and professionals.
12

13            4.       Jurisdiction. The Bankruptcy Court shall retain sole and exclusive
14
      jurisdiction to hear and determine all matters arising from or relating to the
15
      interpretation and/or enforcement of this Consent, provided, however, that the District
16

17    Court shall have jurisdiction over any motion filed pursuant to 28 U.S.C. § 157.
18

19
20

21
              IT IS SO CONSENTED, THROUGH COUNSEL OF RECORD

22

23
                                       [SIGNATURES TO FOLLOW]

24

25

26
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27     CONSENT TO INJUNCTION – Page 5                  P ACHULSKI S TANG                    B USH K ORNFELD           LLP
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 1                                                   EXHIBIT F
 2                                      ADDRESSES FOR NOTICE
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                                   Address
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      DOCS_NY:43062.1 20375/001
27     COOPERATION AGREEMENT                             P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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27     COOPERATION AGREEMENT                              P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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27     COOPERATION AGREEMENT                            P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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